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    SPIRIT OF ALOHA TEMPLE
    AND FREDRICK R. HONIG

                         IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                            STATE OF HAWAII

    SPIRIT OF ALOHA TEMPLE AND                           civilNo.     16-1-o1orc,)
    FRE,DRICK R. HONIG,
                                                         Agency Docket/Case No. SUP2 201210032
                  Applicants-Appellants,
                                                         NOTICE OF APPEAL TO THE CIRCUIT
           VS.                                           COURT; STATEMENT OF THE CASE;
                                                         EXHIBIT "A"; EXHIBIT "B";
    COLTNTY OF    MAUI AND MAUI                          DESIGNATION OF RECORD ON
    PLANNING COMMISSION,                                 APPEAL; ORDER FOR CERTIFICATION
                                                         AND TRANSMISSION OF RECORD;
                  Agencies-Appellees                     CERTIFICATE OF SERVICE




                          NOTICE OF APPEALTO THE CIRCUIT COURT

           COME NOW Spirit of Aloha Temple and Fredrick R. Honig, by and through their

    undersigned attorneys, pursuant to Hawaii Revised Statues $     9l-14, Rule 72 of the Hawaii Rules

    of Civil Procednre, and 28 U.S.C $ 1367(d), hereby appeals to the Circuit Court of the Second

    Circuit from the Findings of Fact, Conclusions of Law and Decision of Order, filed October 28,

    2014 as Docket No. SUP2 201210032 attached hereto as Exhibit       "A". This Notice of Appeal is
    also made pursuant   to   the Order Granting Motion to Dismiss andior for Partial Summary




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    Judgment, filed January   27,24fi in the United   States   District Court for the State of Hawaii   as


    Civil No. 14-00535 attached hereto as Exhibit "B".

                         DATED: Honolulu, Hawai'i, February 2{,ZO16




                                                                     N S. DURRETT
                                                          ADAI\trG. LANG
                                                          SHAI.INA L. SILVA BELL
                                                          Attorneys for Applicants-Appellants
                                                          SPIRIT OF ALOHA TEMPLE and
                                                          FREDzuCK R. HONIG




                                     EXHIBIT "D"
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                       IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                            STATE OF HAWAII

   SPIRM OF ALOHA TEMPLE AND                         Civil No.
   FREDRICK R. HONIG,
                                                     Agency Docket/Case No. SUP2 201210032
                  Applicants -Appellants,
                                                     STATEMENT OF THE CASE
          vs.

   COUNTY OF MAUI AND MAUI
   PLANNING COMMISSION,

                  Agencies-Appellees




                                   STATEMENT OF THE CASE

          COME NOW Spirit of Aloha Temple, Inc. and Fredrick R. Honig ("Appellants"), by and

   through their undersigned attorney, and pursuant to Rule 72 of the Hawaii Rules        of Civil
   Procedure hereby submits the following statement of the case.


                                            INTRODUCTION

           1.     Appellants appeal the Maui Planning Commission's Findings of               Fact,

   Conclusions of Law, Decision and Order Denying a State Land Use Commission Special Permit

   (the "Decision") denying use of their property located at 800 Haumana Road, Haiku, Maui (the

   "Property") as a church in Special Use Permit application SUP2 201210032 (the "Application").

                                               PARTIES


           2.    Appellant Spirit of Aloha Temple, [nc. is a domestic nonprofit corporation formed

   under the Laws of the State of Hawaii.




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            3.     Appellant Fredrick R. Honig resides at 800 Haumana Road, Haiku, Maui, and is     a

    licensed minister.

            4.     Appellee Maui Planning Commission        is a Planning   Commission established

    pursuant to Titles 6 and 13 of the Hawaii Statutes, and is charged with the responsibility of

    hearing and determining applications for State Land Use Commission Special Use Permits.

            5.     Appellee County of Maui is a local governmental entity organized under Hawaii

   Iaw.

                                            JURISDICTION

            6.     The Circuit Court has jurisdiction over this appeal pursuant to Hawaii Revised

   Statutes $ 91-14 and Maui Planning Commission Rules $ 12-201-32. Section 91-14(a) provides

   in pertinent part:

            Any person aggrieved by a final decision and order in a contested case or by a
           preliminary ruling of the nature that deferral of review pending entry of a
            subsequent final decision would deprive appellant of adequate relief is entitled to
           judicial review thereof under this chapter; . . . .

   H.R.S. $ 91-14(b) provides that proceedings for review shall be instituted in the circuit court

   within 30 days after service of the certified copy of the final decision and order of the agency

   pursuant to rule of court.


           7.      The Planning Commission's final Decision and Order in SUP2 2012/0032 was

   served on October 3O.2O14.

           8.     This Appeal was originally filed in federal District Court on November 26,2OI4

   pursuant to 28 U.S.C.    $   1367(a), as a claim over which the federal court had supplemental

   jurisdiction (Count X of the federal Complaint), and was dismissed without prejudice by that




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   court on January 2l ,2016. Spirit of Aloha Temple v. Cty. of Maui, No. CV 14-00535 SOM/RLP,

   2016 WL 347298 (D. Haw. Jan.27,2016).

            9.     As described infra, the period of limitations for this appeal was "tolled while the

   claim [wa]s pending" in the United States District Court for the District of Hawaii, "and for            a

   period of 30 days after it is dismissed . . .   ." 28 U.S.C. $ 1367(d).
                                        STANDARD OF REVIEW


            10.    Hawaii Revised Statutes $ 91-1a(g) sets forth the standards of review             of    an

   administrative court decision. In this case they are whether the Maui Planning Commission's

   ("Commission") decision is clearly erroneous and arbitrary, capricious, and characterized by

   abuse   of discretion and clearly     unwarranted exercise       of discretion.   Findings   of fact   are

   reviewable under the clearly erroneous standard to determine        if the agency decision   was clearly

   erroneous in view of reliable, probative, and substantial evidence on the whole record. Alvarez

   v. Liberty House,   [nc.,85Haw.275,277,942P.2d 1339, 1344 (1997). The courts mayfreely

   review an agency's conclusions of      law. Leslie     v. Bd. Of Appeals of the Cnty. of Hawaii, 109

   Hawaii 384, 391, 126 P.3d     107 1, 1078   (2006). Conclusions of law that present mixed questions

   of fact and law are reviewed under the clearly erroneous standard because the conclusion is

   dependent upon the facts and circumstances of the particular case. Price v. Zoning Bd of Appeals

   of City and County of Honolulu, 77 Haw. 168, 172,883 P.2d 629, 633 (1994).

                                       QUESTION PRESENTED


            L1-. Whether the Commission's Decision and Order was clearly erroneous                        and

   arbitrary, capricious and       an abuse of         discretion given      the Planning   Department's

   recommendation      of   approval subject   to conditions, the reliable, probative and       substantial

   evidence in the complete administrative record, the willingness of the Appellants to agree to




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   various conditions mitigating any impacts of its proposed use, and applicable statutes, ordinances

   and case law that indicate that the Commission should have granted the AppellantJapplication

   for a special use permit.l

                                    GENERAL FACTUAL ALLEGATIONS


               13.   The property that is the subject of special use permit application SUP2 201210032

   is   approximately 11 acres located         at 800   Haumana Road, Haiku, Maui (the "Property"),

   approximately one mile makai of the Hana Highway.

               14.   The Property is described as Tax Map Key No. (2) 2-8-004:032.

               15.   The Property is owned by the Fredrick R. Honig Revocable Living Trust (the

   "Trust"). The Trust      leases the Property to The   Spirit of Aloha Temple, Inc. through a perpetual

   lease that is recorded      with the State Bureau of Conveyances.

               16.   The Spirit of Aloha Temple, Inc., incorporated in2007, is a non-profit corporation

   organized for religious purposes.

               l7.   The Property is located in the State Agricultural District, Paia-Haiku Community

   Plan, and the County AgriculturalZone. The Property's Land Use Category is Agriculture and it

   is located within the Special Management Area.

               18.   The Property's current use is a botanical garden, bird sanctuary and staff housing.

   This use also includes promoting Hawaiian plant-based horticulture and nutrition, and restoring

   the historic   lo'i kalo.   The Appellants' botanical garden on the Property is a permitted use in the

           1
             Appellants reserve for independent adjudication in the federal courts all federal
   questions, including but not limited to any federal First or Fourteenth Amendment claims, and
   claims arising under the Religious Land Use and lnstitutionalized Persons Act, 42 U.S.C. g
   2000cc et seq., for adjudication before the United States District Court. See England v. La. State
   Bd. of Med. Exam'rs,375 U.S. 411 (1964). This District Court stayed the remaining counts in
   the federal action against the County, and "stay[ed] the present case pending the state circuit
   court's determination of the matters raised in Count X."




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    Agricultural District. "Guided garden tours" are permitted on the Property under HRS $ 205-

    2(d)(12) and as an accessory use of "open land recreation" under Maui County Code ("MCC")           $

    19.30A.050(BXl l).

             19.    Appellants additionally seek to use the Property as a "Church" use, which would

   include religious services, meetings, lectures and events for small numbers of people.

             20.   The County has informed the Appellants that "uses such as weddings, special

   events, seminars, group instructions . . . are not permitted" on the Property. The County has also

   informed the Appellants that "classes, demonstrations, conferences, and seminars on plant-based

   nutrition, health and well-being (e.g., yoga, meditation)" ate not permitted on the Property.

            21.    Churches and religious institutions are permitted as        a   special use     in the
   Agricultural district.

            22.    The Appellants had previously applied (SUP 2007/0009) for a special use permit

   to conduct religious activities on the Property, which was denied by the Planning Commission on

   March 23, 2010, with reconsideration also denied on December 14, 2010. The decision and

   order in that application was issued on February 8,2012.

            23.    The Appellants' application for a State Land Use Commission Special Permit is

   governed by HRS $$ 205, 205A and 226, Hawaii Administrative Rules ("HAR")                $ 15-15-95,
   and   MCC Chapter 19.304.

            24.    H.R.S. $ 205-6(a) provides that a "county planning commission may permit

   certain unusual and reasonable uses within agricultural and rural districts other than those for

   which the district is classified."




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            25.    The Maui County Planning Department noted that "[t]he State Land Use Law

   provides flexibility in allowing for unusual conditions that have evolved since a property was

   classified in the State Agricultural District."

            26.    Maui County Code $ 19.510.070(E) permits the Planning Commission to "impose

   conditions on the granting       of a request for a      special use   if   the conditions are reasonably

   conceived to mitigate the impacts emanating from the proposed land use."

             27.   On November 21,2012, the Appellants filed an application (the "Application")

   for a State Land Use Commission Special Permit (SUP2 20l2lOO32) to hold weekly church

   services for up to 20 people on Saturdays from 10:00am to 2:00pm, operate a living classroom

   for nature guardian skills for up to 23 people 4 times per week, and conduct sacred programs,

   educational, inspirational and spiritual, and spiritual commitment ceremonies such as weddings

   for up to 80 persons 24 times per year and up to 40 persons 24 times per year at the Property.

            28.    The Appellants proposed to use the existing structures for purposes of the church

   use.


            29.    The Appellants amended their application regarding events to request only             12

   events per year for up to 20 people, 12 events per year for up to 40 people, 12 events per year      for

   up to 60 people, and 12 events per year for up to 80 people.

           30. The Planning           Department provided       its   recorlmendation      to the Planning
   commission, recommending approval of the Application, with 21 conditions.

           31.     After consultation with the Maui County Planning Department, the Appellants

   agreed to further   limit the proposed use as follows:

                       a. The classroom      was to be limited to use by no more than 24 persons,

                          including staff;



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                 b.   There wore to be no more than four classes per week, all between the hours

                      of 10:00 a.m. and 2:00 p.m.;

                c.    Church services were to be limited to one per week with a maximum of 24

                      attendees and would usually be conducted on Saturdays between the hours

                      of 10:00 a.m. and 2:00 p.m.;

                d. No more than 48 church-related        events per year, of those no more than   half

                      could have between25 and 40 participants and staff;

                e. No more than two events with 25 to 40 persons could be conducted               per

                      month;

                t.    There could be no more than four church-related events per month,

                g. All church-related events were to take place between 10:00 a.m. and 8:00
                      p.m.;

                h.    Shuttle buses were to be used to transport participants to the church-related

                      events that involved between 25 and 40 participants;

                i.    The shuttles would use privately owned facilities, not public ones, for drop

                      off   and   pick up;

                j.    There would be no more than 25 people on the Property except for 59 days      a


                      year;

                k. The attendance would further be limited by the waste water system's limits;
                l.    Records      of events, dates, attendance and type would be maintained      and

                      submitted to two separate County agencies each year. Failure       to   submit

                      them could result in revocation of the permit;

                m. Obtaining approvals from the State Historic Preservation Division;




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                    n.   Several specific Department of Health Safe Water Drinking Branch Test

                         results for a variety of chemicals and bacteria;

                    o.   Approval   of the Department of      Health Environmental Health Services

                         Division regarding all food consumsd on the premises;

                    p.   No food was to be prepared on the premises for any event;

                    q.   A parking plan had to be approved by the Zoning and Enforcement Division

                         and submitted to the Planning Department;

                    r.   The permit would expire on March 31, 20L6, subject to applications for

                         renewal; and

                    s. A hardened driveway       approved by the Fire Department and Department of

                         Public Works.

           32. After extensive revision of the Application            from November 2012 through
   February 2014, on February 11, 2Ol4 the Maui Planning Department deemed the application

   complete and scheduled a public hearing before the Maui Planning Commission for March 25,

   2014.

           33. The Planning Department              issued   a   Report and Recommendation        (the

   "Recommendation") that the Permit be issued.

           34.   The Planning Department noted that no new buildings              or   structures were

  proposed, that the church use    will   use the existing structures in a shared use arrangement, and

  that "[t]he church is intended to complement and support the existing agricultural uses of the

  property and the open and rustic setting of the area."




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            35.    The Department also determined that     "[i]f   approved with conditions, the applicant

   will implement mitigative   measures     to limit impacts on the surroundin    g   area,   including noise,

   traffic and burdens on public service."

            36.   State and County agency review comments were provided regarding potable

   water availability, wastewater capacity, traffic, police and fire department access, archeology,

   and adherence with the agricultural zoning of the Property.       All such agencies indicated that they
   had no objection to the Application

           37.    The Planning Department noted that the use would "place little burden on public

   sewers, water systems, drainage systems or educational facilities."

           38.    With respect to the narrow road conditions of Haumana Road, the Planning

   Department stated: "the Department has worked with the applicant and public safety agencies to

   limit the number of visitors, events, and hours of events,"

           39.    With respect to the State zoning statutes, the State Plan, HRS Chapter 226 (which

   provides guidelines for long-term development of Hawaii), and the County of Maui General

   Plan, the Planning Department noted that the Application would be permissible as an "unusual

   and reasonable" use under the State PIan and that    it furthered no fewer than eleven Objectives,
   Goals and Policies of the County Plan.

           40.    The Planning Department also considered the Application in light of the local

  Paia-Haiku Community Plan and again found that it promoted the goals of that land use plan.

           41.    The Planning Department also reviewed the requirements for a Special Use

  Permit in the Agricultural District, found in H.R.S. $g 205 and 205A. It specifically found rhat

  the proposed use meets those standards, that it will complement and support agricultural use, and

  that it will not adversely affect surrounding property or burden public services.



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             42.   The Recommendation noted that any concern about possible vehicular                    and

   pedestrian traffic impact had been addressed by both the Police and Fire Departments.          It   states

   that "[i]n light of these comments the Department discussed the matter with public safety

   agencies and developed conditions to mitigate the effect on traffic and public services."

             43. In order to mitigate traffic impacts along Haumana Road, the Department                  of

   Public Safety/Police Department recommended that the number                of visitors and hours of
   operation for church related events be limited. Those limitations were adopted and made part of

   the Application as finally submitted. The Recommendation quoted the Police Department's

   comment as stating: "There is no objection to the progression of this project at this time, from the

   police standpoint in regards to pedestrian and vehicular movement."

             44.   The Recommendation also noted that "the proposed church and agricultural

   education uses    will   complement existing agricultural uses    of the property using       existing

   buildings and structures."

             45.   The Recommendation included a conclusion of law that "[t]he application for             a


   State Land Use Commission Special Permit complies with the applicable standards                for    an

   'unusual and reasonable' use within the state Agricultural District."

             46.   With regard to impact on surrounding properties, the Recommendation stated: "If

  approved with conditions the applicant    will implement mitigative      measures to   limit impacts on

  the surrounding area, including noise, traffic and burdens on public seryice."

             47.   That Recommendation further noted that "[c]hurch or related uses are not

  uncommon in the State Agricultural District under the provisions of a State LUC Special Use

  Permit."

             48.   on March 25,20L4 the Commission held a public hearing on the Application.



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             49.    At the conclusion of the hearing     a motion was made to deny the    Application. The

   motion passed with six ayes voting for denial and two excused. The special use permit was

   denied.

             50.    Appellants thereafter requested reconsideration of the denial.

             51.    The Appellants submitted a further reduction in the church events in support of its

   request   for reconsideration   as   follows: 6 programs per month for up to 4 hours and for up to 24

   participants, from   l0 a.m. to 4 p.m. and2      programs per month for up to 6 hours and up to 40

   participants (1 from 10 a.m. to 4 p.m, and 1 from 10 a.m. to 8 p.m.).

             52.    On April 8,2014, the Planning Commission reconsidered the Application.

             53.   Appellants again amended the Application to further reduce the number and size

   of church related events that they would hold.

             54.   A motion to rescind the previous denial passed by     a vote   of 5 to 1 with 2 excused.

             55.   Appellants orally amended the Application to reduce the proposed number of

   church events to include eight per month with a maximum of ten cars per event. Two of the

   events could have up to 40 people and the remaining six events could have up to 24 people.

   Seven of the eight events would end by 4 p.m., with the remaining event ending by 8 p.m.

             56.   The Planning Department again recommended approval                 of the Application,
   subject to conditions.

             57.   At the conclusion of the deliberations on reconsideration, a motion was made to

  deny the State Land Use Commission Special Use Permit.

             58.   Initially, in the first vote only two members of the Planning Commission assented

  to the Motion to deny the permit. Three members abstained. Three members dissented.




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               59.   After this vote, the Planning Commission determined that the Chair needed to

   vote and could not abstain, so another vote was taken.

               60.   K. Ball assented in this second vote and voted to deny the application.

               61.   The second vote was three assents to the Motion, two abstentions, and three

   dissents.

               62.   Thus, only three of eight members of the Planning Commission voted to deny the

   special use permit. However, under the Maui County Planning Commission Rules of practice

   and Procedure, $    l2-20l-24(c), an abstention (unless   as a result   of disqualification for conflict of

   interest) is counted as an affirmative vote. Thus the vote to deny the Permit passed 5-3.

           63.       On October 30,2014, the Commission issued its Findings of Fact, Conclusions of

   Law and Decision and Order, SUP 201210032. It made the following Conclusions of Law,

   which included:

           [A]fter hearing testimony from neighbors that live adjacent to or nearby the
           Property and after questioning the Applicant and Consultant, the Commission
           concluded that the uses requested in the Application did not constitute an 'unusual
           and reasonable' use in the Agricultural District.

           The Commission found that the uses proposed in the Application would adversely
           affect the surrounding properties in conflict with r5-15-95(z) HAR. The
           Commission received substantial negative written testimony from nearby property
           owners on Haumana Road and North Holokai Road. Additionally during the
           hearing nearby property owners submitted additional oral visual and written
           testimony regarding concerns about the safety of Haumana Road for both potential
           visitors and property owners along Haumana Road. The Commission found such
           testimony reliable and compelling.

           The Commission found that granting the uses would increase traffic and burden
           public agencies providing roads and streets, police and fire protection, in conflict
           with 15-15-95(3), HAR, and gave the following reasons for a denial of the
           Application on that basis: significant concerns about the narrowness of Haumana
           Road and vehicle and pedestrian safety both to potential visitors to the property
           and property owners along Haumana Road and the fact that and the fact that the
           Property is at the terminus of Haumana Road and therefore traffic to the Property
           would negatively impact residents safety and use of Haumana Road.



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            64.       The Planning Commission's denial of the Appellants' special use permit was

   based on the      traffic impacts of such proposed use.

            65.       The only evidence presented to the Planning Commission regarding traffic, other

   than that from the government agencies as described above, was the anecdotal testimony of local

   residents opposed to the proposed church use. The Planning Commission's decision and order

   states that   "[t]he Commission was concerned about the number of objection letters received from

   property owners       in the   nearby neighborhood and noted the paucity       of   support letters from

   adjacent neighbors."

            66.       Safety concerns regarding the Application were addressed and confirmed by

   government agency comment letters.

            61   .    The Planning Department had included as a proposed condition of approval:

             That in order to reduce the amount of traffic on Haumana Road, the applicant
             shall use a shuttle system (vans and limousines) to bring guests to and from the
             property for all events that will have more than 25 persohs in attendance. Every
             effort should be taken to shuttle or carpool event guests to all activities. Shuttles
             shall use privately owned facilities, such as hotels, for their operations such as
             drop-offs and pick-ups.

            68.        On November 26,2014 (less than 30 days after the service of the certified copy

  of the final decision and order), the Appellants filed their Complaint in the United States District

  Court for the District          of   Hawaii, Civ. No. 14-00535 (SOM) (RLP), both appealing the

  Commission's action pursuant to Hawaii Revised Statutes $ 91-14 as well as challenging the

  denial and certain land use regulations under the Religious Land Use and Institutionalized

  Persons Act,42 U.S.C. $$ 2000cc et seq., the First and Fourteenth Amendments to the United

  States Constitution, and the Hawaii Constitution      Article I $$ 4 and   5.

           69.        The United States District Court had supplemental jurisdiction over Count X of

  the federal complaint (Appellants' appeal pursuant to H.R.S. $ 91-14), as             it   was "related to

                                                       13



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   claims in the action within such original jurisdiction that they form part of the same case or

   controversy under Article   III of the United   States Constitution." 28 U.S.C. g 1367(a).

            70.   The District Court subsequently dismissed Count          X of the Appellants'   federal

   Complaint without prejudice, holding:

           The court declines to exercise supplemental jurisdiction over Count X and
           dismisses Count X without prejudice to Plaintiffs' pursuing of that claim in state
           court pursuant to 28 U.S.C. $ 1367(d).

   Spirit of Aloha Temple v. Cty. of Maui, No. CV 14-00535 SOMiRLP, 2016 WL 347ZgB, at *14

   (D. Haw. Ian.27,2016).


           71.    The District Court further stayed the federal case with respect to the remaining

   Counts in the federal Complaint.

           72.    The federal supplemental jurisdiction statute states:

           (d) The period of limitations for any claim asserted under subsection (a), and for
           any other claim in the same action that is voluntarily dismissed at the same time as
           or after the dismissal of the claim under subsection (a), shall be tolled while the
           claim is pending and for a period of 30 days after it is dismissed unless State law
           provides for a longer tolling period.

   28 U.S.C. $ 1367(d).


           73.    The District Court issued its Order on January 27, 2016. This Appeal is filed

   within the additional 30-day period during which the period of limitations for Appellants' appeal

   pursuant to H.R.S. $ 91-14 is tolled by 28 U.S.C. 1367(d).

                                        CLAIM FOR RELIEF

                                      (Violation of H.R.S. $ 91-14)




                                                      t4


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            14.     Appellee Maui Planning Commission's Final Decision and Order dated October

   28,2014 denying Appellants' Special Use Permit was arbitrary, or capricious, or characterized

   by abuse of discretion or clearly unwarranted exercise of discretion.

            75.     Appellee Maui Planning Commission's Final Decision and Order dated October

   28, 2014 denying Appellants' Special Use Permit was based on Findings of Fact that were

   clearly erroneous and not supported by necessary reliable, probative and substantial evidence of

   the whole record.

            16.     Finding of Fact No. 68 provides the MPC's basis for denying the SUP application

   by stating in pertinent part as follows:

          The Commission finds that there is evidence of record that the proposed uses
          expressed in this Application should they be approved would increase vehicular
          traffic on Haumana Road, which is narrow, winding, one-lane in areas, and prone to
          flooding in inclement weather. The Commission finds that Haumana Road is
          regularly used by pedestrians, including children who use the road to access the bus
          stop at the top of the road. The Commission that granting the Application would
          adversely affect the health and safety of residents who use the roadway, including
          endangering human life. The Commission finds that the health and safety of the
          residents' and public's use of Haumana Road is a compelling government interest
          and that there is no less restrictive means of ensuring the public's safety while
          granting the uses requested in the Application.

           71   .   Based on the record of the hearing, this finding of fact appears to solely be based

  on the anecdotal testimony provided by residents of Haumana Road who neighbor the site of

  Spirit of Aloha Temple and as such have significant biases to denying Spirit of Aloha's SUP.

  The Findings of Fact make no mention of the supplemental evidence of reports from the Maui

  Police Department and Maui Fire Department, disinterested expert parties, stating that they had

  no objections to the SUP in regard to pedestrian and vehicular movement. These reports were

  made based on the original SUP application that included a larger number of events, people and

  vehicles.. Such disinterested reports from the Maui Police Department and the Maui Fire



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   Department concluded that vehicular and pedestrian safety were not endangered by the scope of

   activities proposed in Spirit of Aloha's SUP application.

            78.   The Maui Department of Planning recommended approval of the SUP application

   with the reduced number and sizes of events with several conditions.

            79.   Finding   of Fact No. 68     states that Haumana Road       is "prone to   flooding";

   however, the evidence in the record states that the water runs off into a culvert and that the road

   drains well.

           80.    Finding of Fact No. 68 states that Haumana Road is "one-lane in areas" and while

   this is supported by evidence in the record, this statement fails to account for the context that

   while the asphalt may only be as wide as one-lane in certain areas, the road still is passable as the

   road maintains a recorded 2O-foot right     of way and vehicles are able to     pass each other by

   pulling over to the right within the 20-foot right of way. The narrowed width is the result of

   encroachment by property owners along Haumana Road.

           81.    Finding of Fact No. 67 described the voting results on the Motion to Deny the

   State Land Use Commission Special Use Permit from the              April 8, 2014 Maui      Planning

   Commission meeting. It states that J. Freitas and W. Hedani assented to the Motion; M. Tsai, I.

   Lay, and K. Ball abstained; and J. Medeiros, P. Wakida, and R. Higashi dissented. However, the

   signatures at the end of the Decision and Order include Commissioner     Ball's signature in the "In

   Agreement" category rather than in the "Abstained" category. All other signatures for agreement

  or disagreement with the Motion corresponded to how the commissioners voted, or abstained, in

  the minutes of the hearing and as reported in Finding of Fact No. 67.

           82.    Conclusion of Law No. 5 states, "The Commission found that the uses proposed

  in the Application would adversely affect the surrounding properties, in conflict with 15-15-


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   95(2) [sic], HAR. The Commission received substantial negative written testimony from nearby

   property owners on Haumana Road and North Holokai Road. Additionally, during the hearing,

   nearby property owners submitted additional oral, visual, and written testimony regard.ing

   concerns about the safety        of Haumana Road for both potential visitors to the Property and
   property owners along Haumana Road. The Commission found such testimony reliable and

   compelling." This conclusion of law presents a mixed question of fact and law in that the

   Commission bases its conclusion on a finding regarding the safety of Haumana Road based on

   the biased testimony of nearby property owners while overlooking the objective testimony and

   reports provided by other Maui County agencies and departments.

            83.    Conclusion of Law No. 6 states, "The Commission found that granting the uses

   would increase traffic and burden public agencies providing roads and streets, police, and fire

   protection, . . .   ."   No evidence was presented to support the finding that the burden of public

   agencies providing roads and streets, police and fire protection would be increased.

            84.    The Maui police and fire departments both provided reports that were in support

   of the SUP application. Therefore, Conclusion of Law No. 6 is not supported by any probative

   or reliable evidence.

            85.    Conclusion      of Law No. 9 states that "the likely significant   increase   in traffic
   attributable to the uses proposed by the Application [would create] conditions that would be

   foreseeably dangerous        or potentially deadly to drivers and pedestrians, including children
  walking on the road to and from the bus stop at the top, using the small rural roadway." These

  findings are not based on probative, reliable and substantial evidence particularly as it pertains to

  children walking to and from the bus stop since the proposed start and end times for the events

  included in the SUP Application do not coincide with normal school start/end times.



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                                         RELIEF REQUESTED

          Wherefore, Appellants respectfully pray that this Court, pursuant to Haw. Rev. Stat. $ 91-

   14(g), grant the following relief:


           1.      An order sustaining Appellants' appeal pursuant to H.R.S. $ 91-14, and finding

                   the Planning Commission's action in denying Appellants' Special Use Permit

                   application to be unlawful;


           2.      An order directing the Planning Commission to grant the Spirit of Aloha Temple

                   and Frederick Honig, Inc. the Special Use Permit necessary to conduct church

                   activities on the Property as applied for in its Application; and

           a
           J.      Grant such further relief as the Court deems appropriate.


                          DATED: Honolulu, Hawai'i, February       6      ZOrc




                                                        SHAUNA L. SILVA BELL
                                                        Attorneys for Applicants-Appellants
                                                        SPIRIT OF ALOHA TEMPLE and
                                                        FREDRICK R. HONIG




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                                  EXHIBIT "A"




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                           BEFORE THE MAUI PI.ANNING COMMISSION

                                          COUNTY OF MAUI

                                          STATE OF HAWAII


    ln The Matter of The Application of             DOCKET NO.
                                                    suP2 2012t0032
              FREDR]CK R. HONIG
           SPIRIT OF ALOHATEMPLE                    FREDRICK R. HONIG
                                                    SP]RIT OF ALOHA TEMPLE
    To Obtain a State Land Use Commission
    Special Use Permit to Operate a Classroom       Findings of Fact, Conclusions of Law and
    and hold Spirit of Aloha Temple Ghurch          Decision and Order Denying Docket No.
    Services with Church Related Events such        SUP2 2A12N032; Certificate of Service
    as Weddings in the State and County
   Agricultural Zoning Districts             on
   Approximately 11 Acres of Land Located at
   800 Haumana Road, Haiku, Maui, Hawaii;
   MauiTax


                      FINDINGS OF FACT, CONCLUSIONS OF LAW,
                            DECISION AND ORDER DENYING
                   A STATE LAND USE COMMISSION SPECIAL PERMIT

        On March 25,2014, the Maui Planning Commission ("Commission'), pursuant to Section

  205-6, , Hawaii Revised Statutes (.HRS"), held a public hearing regarding an application for a

  State Land Use Commission Special Permit No. SUP2 2O121OO32 submitted by Fredrick R.

  Honig/Spirit of Aloha Temple ("Applicant") and denied SUP2 201210032. Subsequently, on April

  8,2014, the Commission considered a request by Mr. Honig to rescind the Commission's March

  25, 2A14, denial of SUP2 201A0032, and the Commission took action to rescind said denial.

  On April 8, 2014, the Commission received further evidence and testimony, and after further

  deliberation denied SUP2 201210032. The effective date of this decision and order is April   B,

  2014. The Commission makes the following Findings of Fact and Conclusions of Law, based

  on the record in this case, including all documents submitted and testimony provided to the




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   Commission, as well as all other items of record properly brought before the Commission:

                                               FINDINGS OF FACT


          1.    To the extent that any finding of fact is more properly characterized as                          a

   conclusion of law, the Commission adopts it as such.

          2.    On November 21, 2012, an application for a State Land Use Commission Special

   Permit (SUP2 201210032) (collectively, the "Application") was filed                        by Mr. Fredrick    R.

   HoniglSpirit of Aloha Temple ('Applicant").

          3.    The Application originally requested three uses: living classroom for horticulture

   and nature guardian skills for up to 23 people up to 4 times per week ("Living Classroom");

   weekly church seryice for up to 20 people held on Saturdays from 10 AM to 2 PM ("Services");

   and, sacred programs, educational, inspirational, or spiritual including Hawaiian cultural events,

   and spiritual commitment ceremonies such as weddings for up to 80 persons 24 times per year

   and up to 40 persons 24 times per year ('Special Events") to be held at 800 Haumana Road,

   Haiku, Maui, Hawaii ("Property'). (A true and correct copy of the Planning Department's Report

   and Recommendation ("Staff Report"), is attached hereto and made a part hereof as Exhibit A,

  along with Exhibits 1-25 to the Staff Report.)

          4.    The Property is approximately 11 acres and is located at 800 Haumana Road,

  Haiku, Maui, Hawaii, further described as Tax Map Key No. (2) 2-8-004:032. The Property is

  located in the State Agricultural District, Paia-Haiku Community Plan with a Land Use Category

  of Agriculture, and County Agricultural Zone and is located within the Special Management

  Area.

          5.    The Property contains a main farm dwelling, second farm dwelling, and other

  structures described by the Applicant as the Spirit of Aloha Temple, the Waterfall Pavilion, the

  Potting Shed and other buildings accessory to agricultural functions. The uses described in

  Paragraph 3, above, were proposed for the Spirit of Aloha Temple, the Waterfall Pavilion, the



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   Potting Shed and the outdoor gardens.

           6.    On February 11,2014, the Maui Planning Department ("Department") deemed the

   Application complete and mailed a notice to the Applicant and appropriate State and County

   agencies that a public hearing ("Hearing') was scheduled on the Application before the Maui

   Planning Commission on March 25,2014.

           7.    On February 21,2014, the Applicant mailed a "Notice of Public Hearing'and
   location map to all owners and lessees adjacent to the Property and across the street describing

   the Application and notifying them of the scheduled public hearing date, time and place by either

   certified or registered mail,

           8.    On February 21, 2014, a notice of hearing on the application was published in the

   Maui News by the Department.

           9.    There was no petition to intervene filed by any person related to the Application.

           10.   Commission members present at the March 25,2014, Commission meeting were

   Chair lvan Lay, Vice-Chair Warren Shibuya, Sandra Duvauchelle, Jason Medeiros, Penny

   Wakida, Maxwell Tsai, and Jack Freitas. Commission members absent and excused were

   Keone Balland Wayne Hedani.

           11.   Department Staff Planner Kurt Wollenhaupt provided the Commission with an

   overview of the Application speaking to the reasons for the public hearing and explaining the

   criteria the Commission was to use regarding the State Land Use Commission Special Permit.

   Special emphasis was placed on access to the Property via Haumana Road, history of the

   Property, the resolution of past violations via two Settlement Agreements, resolution of Coastal

  Lands Case MA-0-12, and state and county agency review comments regarding potable water

  availability, wastewater capacity, traffic, police and fire department access, archaeology, and

  adherence with the agricultural zoning of the Property. The Planner did indicate that the

  Applicant amended the Application as to the following number and type of Special Events


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   described in Paragraph       3:    12 events per year for up to 20 people, 12 events per year for up to

   40 people, 12 events per year for up to 60 people, and 12 events per year for up to 80 people.

   Supplements 1 through         I   were provided to the Maui Planning Commission to add to the Staff

   Report and Recommendation and are attached hereto as Exhibit B.

           12. The Applicant's Consultant, Mr. Kevin Hoeke, gave a presentation                             regarding the

   proposed Spirit of Aloha Temple operation and provided extensive comments regarding project

   operations and concerns about noise and traffic, Mr. Hoeke verbally amended the Application's

   proposed number and type of Special Events as follows: an annual total of 48 Special Events

   were proposed, 24 of which would be for up to 40 persons or less and 24 of which would be for

   up to 24 persons or less through the year, with a maximum of four (4) such events per month.

   No amendments were made to the number and type of Living Classroom and Church Services

   described in Paragraph 3 under Findings of Fact.

           13.   The Applicant addressed the Commission, gave a detailed history of the Property,

   and answered questions regarding project operations for the Spirit of Aloha Temple. There was

   a   technical difficulty with Applicant's PowerPoint presentation rendering                         it   unable   to   be

   presented.

           14.   At the Hearing, testimony for and against the Application was provided and has

   been recorded in the minutes and other records of the March 25,2014, meeting. (A copy of the

   minutes of the March 25,2014, Commission meeting is attached hereto as Exhibit                           C.) Testifiers
   included neighbors and people familiar with the surrounding properties. Extensive written

  testimony in opposition to and in support of the Application was presented in both the Staff

  Report dated March 25, 2014, and in supplemental letters submitted at the Commission

  meeting. (See Exhibits A and B.) Geographic reference maps of support and opposition letters

  were provided to the Commission. Supplement 1 of the Staff Report contained 18 support

  letters and 6 objection letters with a response by the Applicant. (see Exhibit B.)

           15.   Members of the public testified at the Hearing, including Ms. Jessica Caudill of


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   4501490 Haumana Road, who opined                  to her concern that proposed uses would result in a
   dramatic increase in traffic and potential negative effects on pedestrian safety due to Haumana

   Road being narrow and winding and with only one access/egress. Ms. Caudill testified that the

   occupants of Haumana Road used it for walking and that children regularly accessed properties

   across the street. She expressed concern with children's safety and the possible impact of

   strangers to the area. (See Exhibit C, pages 61-62.)

           16.   Mr. Antonio Piazza of 410 N. Holokai Road testified that the Applicant                                has

   previously used the Property for unpermitted commercial wedding operations, which involve

   alcohol and noise. He expressed safety concerns related to the 5O-foot cliff fronting the

   Property. Mr. Piazza expressed concerns related to increased traffic, emergency access, and

   road safety. Mr. Piazza opined that the Applicant was unlikely to comply with potential permit

   conditions as Mr. Piazza testified that unpermitted activities had been conducted on the

   Property. (See Exhibit C, pages 63-64 and pages 66-69.)

           17.   Planning Director Wlliam Spence provided information as to the resolution of

   Notices of Violation related to prior illegal activities on the Property.

           18.   Ms. Nancy Gilgoff of 411 Haumana Road opined on the increase in traffic and

   vehicular and pedestrian safety, the impact to the neighborhood of the proposed number of

   events in the Application, and dangerous roadway conditions after rain events. Ms. Gilgoff

   expressed concem that persons attending events would use alcohol. She stated that the only

   person not impacted by the increase in traffic would be Mr. Honig, as the Property is at the end

  of Haumana Road. (See Exhibit C, pages 64-65.)

           19.   Ms. Stephanie Gilgoff          of 411 Haumana            Road opined         to her desire for any
  proposed events to be concluded before dark, was concerned about roadway safety issues, and

  expressed concerns over possible impacts to the guiet rural character of the neighborhood.

  (See Exhibit C, pages 65-66.)


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           20.    Mr. William Knowlton of 380 N. Holokai Road opined to concerns regarding

   cliffside weddings blocking ocean access, archeological concerns, past operations of illegal

   commercial weddings and transient vacation rentals and yoga classes on the Property. (See

   Exhibit C, page 69.)

           21. Mr. Daniel Mizner of 455 Haumana Road expressed concerns regarding roadway
   limitations, stated that Haumana Road is 10 feet wide in some areas. He expressed concerns

   about pedestrian safety and the increase in traffic due to the proposed uses, stating that

   children walk home from the school bus stop near the top of Haumana Road, and that residents

   use the road for walking and bicycling. Mr. Mizner stated that lands in the Agriculturat zone

   should be used for agriculture and that the proposed weddings were incompatible. Mr. Mizner

   expressed concern as to the effect of the uses on the rural character of the neighborhood..

   (See Exhibit C, pages 69-70.)

           22.   Ms. Lani Starr attested to the character and sincerity of the Applicant and

   supported the Application. Ms. Starr stated that expansion                      of Haumana Road should be
   considered for public response vehicle access. (see Exhibit               c, pages T0-11.1
           23. The Commission              engaged      in a     discussion     on particular uses allowed          on

   agricultural properties such as botanical gardens, the proposed capacity of the wastewater

   system, the adequacy of the fire suppression system, the potability of on-site water and the

   concerns raised by the State Department of Health and its Safe Drinking Water Branch and the

   Environmental Health Services Division/Maui Sanitation Branch.

           24.   The Commission was concerned about the number of objection letters received

  from property owners in the nearby neighborhood and noted the paucity of support letters from

  adjacent neighbors. The Commission inquired about the efforts the Applicant made to contact

  adjacent neighbors who had concerns about this Application.

           25. Deputy Corporation Counsel Richelle Thomson provided information about the
  Religious Land Use and lnstitutional Persons Act ("RLUIPA), in order that the Commissioners


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   were aware of RLUIPA and its potential applicability to the Commissioners' analysis of the

   Application.

           26.    The Commission went into executive session from approximately 3:52 PM to 4:31

   PM, and the meeting reconvened at 4;32 PM.

           27.    The Department gave its Recommendation to the Commission recommending

   approval of the Application with 21 conditions.

           28.    Commission Freitas made a motion to deny the SUP2 based upon concerns about

  the safety of pedestrians, motorists, and residents on Haumana Road should this Application be

   approved. (See Exhibit C, page 80,)

          29. Gommission Wakida expressed concerns about traffic safety on Haumana Road
  and also was concerned about issues raised on the availability of potable water and the

  capacity of the wastewater system. (See Exhibit C, page 80.)

          30.     Commission Medeiros seconded the motion to deny based upon concerns about

  the increase in traffic along Haumana Road and impacts to human health and safety. (See

  Exhibit C, pages 80-81.)

          31.     After deliberation, the Commission voted to deny the Applicant's request for                        a

  State Land Use Commission Special Permit (SUP2). There were six (6) ayes voting for denial

  with two (2) excused. Assenting to Motion to Deny                     -   J. Freitas, J. Medeiros, M. Tsai, S.
  Duvauchelle, P. Wakida,       W Shibuya.        Excused    -   K. Ball, W. Hedani.

          32.     The Applicant by letter requested that his denialbe reviewed and rescinded by the

  Maui Planning Commission and that the SUP2 be reviewed with additional information

  regarding the Application. (See Exhibit D          -   Supplement 9.)

          33.     The following item was placed on the agenda for the April 8, 2014, Maui Planning

  Commission meeting: .Notice of Motion to Rescind or Motion to Amend the State Land Use

  Commission Special Use Permit denial action by the Maui Planning Commission on March 25,


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   2014, to operate a classroom and hold Spirit of Aloha Temple church services with church

   related events such as weddings in the State and County Agricultural Zoning Districts on

   approximately 11 acres of land located at 800 Haumana Road, TMK: 2-8-004: 032, Haiku,

   lsland of Maui."

           34.    Commission members present at the April 8, 2A14, Commission meeting were

   Chair lvan Lay, Vice-Chair Keone Ball, Jason Medeiros, Penny Wakida, Maxwell Tsai, Wayne

   Hedani, Richard Higashi, and Jack Freitas. Commission member excused was Sandra

   Duvauchelle.

           35.    Supplements 9        - 12 were submitted to the Maui Planning Commission to add to
   the record. Supplements included: letter from Applicant; additional agency comments; and,

   additional support and objection letters. (See Exhibit D.)

           36.    Numerous individuals testified in support and opposition of the Application. (A

   copy of the minutes of the April 8, 2014, Commission meeting is attached hereof as Exhibit E.)

           37. Mr. William Knowlton of 380 N. Holokai Road spoke about advertisements                                for yoga

   retreats, transient vacation rentals, and weddings for the Property which he believed are not

   legally allowable uses on the Property. Mr. Knowlton testified as to the Applicant's prior

   requests for approval of a helicopter pad and transient vacation accommodations. (See Exhibit

   E, pages 6-7.)

           38. The Applicant spoke to his request for rescission of the May 25,2014 denial and
   subsequent reconsideration of his Application and spoke to the merits of the Application. The

  Applicant submitted a reduction in Special Events as follows: 6 programs per month for up to 4

   hours and for up to 24 participants, from 10 a.m. to 4 p.m., and 2 programs per month for up to

  6 hours and up to 40 participants (1 from 10 a.m. to 4 p.m., and 1 from 10 a.m. to                       I   p.m.). (See

   Exhibit E, pages 9-11)

           39. Ms. Charlotte Mclaughlin spoke to the merits of the Application                          opining that she

  believes that Haumana Road provided safe access to the Property. (See Exhibit E, pages 't1-


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   12.1

              40.   Ms. Lani Starr spoke to the merits of the Application opining that she believes

   Haumana Road provided safe access to the property and that the Application should be

   reviewed with particular attention to RLUIPA. (See Exhibit E, pages 12-13.)

              41.   Ms. Aerie Waters spoke to the merits of the Applicatlon opining that this

   Application should be considered under the rubric of RLUIPA. (See Exhibit E, pages 13-14.)

              42.   Mr. Sean Clancy stated that he would continue to read from a document prepared

   by the Applicant, stated that he was acquainted with the Applicant for four or five months, and

   that he was not a member of the Spirit of Aloha. Mr. Clancy spoke to the merits of the

   Application opining that this Application should be considered under the rubric of RLU|PA. Mr.

   Clancy opined that safety concerns               on    Haumana Road may be due to encroachment by

   adjoining property owners. (See Exhibit E, pages, 14-16.)

              43.   Mr. Kevin Hoeke testified that he had been a member of the Spirit of Aloha for

   many years. He spoke to the merits of the Application, stating that the proposed uses are low

   impact, and that safety concerns regarding the Application had been addressed and confirmed

   by agency comment letters. (See Exhibit E, pages 16-18.)

              44.   Mr. Chaz Paul identified himself as a member of the Spirit of Aloha and testifled to

   the merits of the Application opining that he believed greater attention should have been given

   to the connection of this Application with RLUIPA and that the Applicant was unable to give a

  full presentation of the May 25,2A14 meeting. (See Exhibit E, pages 18-19.)

              45.   Ms. Arjuna Nour stated that she has known the Applicant briefly and had been to

  the Property twice. She testified that she is not a member of the Spirit of Aloha. Ms. Nour
  continued to read from the Applicant's prepared statement and spoke to the merits of the

  Application opining on five reasons for the Commission to reconsider the project. She opined

  that the photographs of Haumana Road portrayed the road as being nanower than it actually is.


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   (See Exhibit E, pages 19-21.)

            46. The Commission voted to go into Executive Session, pursuant to Section 92-5(4),
   HRS,     to   consult with its attorney regarding the Commission's powers, duties, privileges,

   immunities, and liabilities as relating to the implications on the Commission's anatysis of the

   Application pursuant to RLUIPA, Religious Land Use and lnstitutionalized Persons Act.

            47.    Ms. Nancy Gilgoff of 411 Haumana Road testified as to her concerns about the

   safety   of Haumana Road during a storm/rain period. She showed a brief video of road
   conditions during a rain event opining that these conditions were chatlenging to road safety for

   drivers and potential visitors to the Property. Ms. Gilgoff testified that the road is one lane only

   in areas, with blind curves, and that children walk home from school atong the road. (See

   Exhibit E, pages 21-23-)

            48.    Ms. Teresa Hill testified in support of the Application opining that she has driven

   Haumana Road and believes it to be safe and easy to drive. Ms. Hill presented photos that she

   testified were taken by the Applicant. (See Exhibit E, pages 23-27.)

            49. Ms. Lisa Kasprizyeki           former tenant at 411 Haumana Road testified as to her

   concerns about roadway safety especially to people unfamiliar with Haumana Road. (See

   Exhibit E, pages 27-28.)

            50.    Mr. Daniel Mizner of 455 Haumana Road spoke to his concerns over the
  Application and specifically about road safety and indicated that in his opinion nothing had

  changed since the March 25,2014, MPC meeting to retract or change his concerns about the

  Application. (See Exhibit E, page 28.)

            51.    The Maui County Department of Public Works provided information that Haumana

  Road is 11 to 18 feet wide, and the standard rural/agricultural road is 22 feet wide, with a total

  40 foot right of way.

            52.    Public testimony was closed.

            53.    Commissioner Madeiros made a Motion to Rescind the March 25,2014, denial by


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   the Commission.

              54.    Commissioner Hedani seconded the Motion.

              55.    The Motion to Rescind the Denial passed by a vote of 5 to 1 with 2 excused.

   Assenting     -   J. Madeiros, W. Hedani, M. Tsai, P. Wakida, and R. Higashi. Dissenting                                 -   J.

   Freitas. Excused       -   S. Duvauchelle, l. Lay.

              56.    The Applicant, along with Mr. Hoeke proceeded to give a detailed review of the

   Application and the proposed uses, addressing Haumana Road safety concerns, traffic, Spirit of

   Aloha Temple goals, drinking water availability, wastewater capacity, food sustainability, and

   comments from the Fire and Police Departments.

              57.    The Applicant presented his PowerPoint presentation describing the Property and

   goals for the Spirit of Aloha Temple and Gardens.

              58. Mr. Hoeke orally amended                the Application to reduce the proposed number of

   Special Events to include eight (8) events per month with a maximum of ten (10) cars per event.

   Two (2) of these events could have up to 40 people and the remaining six (6) events could have

   up to 24 people. Seven of the          I events would end by 4 p.m., with the remaining                 event ending by

   8 p.m. (See Exhibit E, pages 40-41.)

              59.    Further discussion involved details                of   on-site water potability and written
   comments from the Department of Health.

              60.    Further discussion involved the use of the Property for botanical tours and the

   details of such tours.

              61.    Further discussion involved control over limiting the number of vehicles that could

   be traveling to the Property for events, event noise control, land                                   stewardship, and

   archaeological review of historical sites identified on Property including taro fields.

              62.    The Department of Planning recommended approval of the Application, subject to

  conditions. Department Planner Kurt Wollenhaupt began                           to review potential conditions             of


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   approval for the Application with Commission discussion focused on enforcement of potential

   conditions and on revising the number of permitted Special Events on Property.

            63.   After Commission deliberation, Commissioner Freitas made a Motion to Deny the

   Application for an SUP2 permit with a Second made by Commissioner Hedani. (See Exhibit E,

   page 78.)

            64.   Commissioner Medeiros dissented on the proposed Motion to Deny opining that

   permitting a reduced number of events per year would be his preference and that he recognized

   the unique position of religious organizations. (See Exhibit E, page 79.)

            65.   Commissioner Freitas indicated that his Motion to Deny was based upon safety

   concerns regarding passage of visitors along Haumana Road to the Property for the uses

   proposed under the Application. (See Exhibit E, page 78.)

            66.   Commissioner Hedani opined that granting this permit would affect every single

   property along Haumana Road. He commented upon safety issues of Haumana Road, blind

   curves and narrowness of the Road, and potential pedestrian safety concerns. He opined that

   permit conditions would be difficult to enforce and that Haumana Road is too dangerous to allow

   an increase in traffic. (See Exhibit E, page 78-79.')

            67.   The Motion to Deny the State Land Use Commission Special Use Permit vote

   passed as follows. Assenting - J. Freitas, W. Hedani. Abstaining - M. Tsai, t. Lay, K. Ball.
   Dissenting - J. Medeiros, P. Wakida, R. Higashi. Excused - S. Duvauchelte. By the Maui

   Planning Commission Rules of Practice and Procedure, an abstention without a valid conflict of

  interest counts as a vote in favor of the motion being considered.

            68.   The Commission finds that there is evidence of record that the proposed uses

  expressed in this Application should they be approved would increase vehicular traffic on

  Haumana Road, which is nanow, winding, one-lane in areas, and prone to flooding in inctement

  weather. The Commission finds that Haumana Road is regularly used by pedestrians, including

  children who use the road to access the bus stop at the top of the road. The Commission finds


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  that granting the Apptication would adversely affect the health and safety of residents who use

   the roadway, including endangering human life. The Commission finds that the health and

  safety of the residents' and public's use of Haumana Road is a compelling government interest

  and that there is no less restrictive means of ensuring the public's safety while granting the uses

  requested in the Application.

              69. The Commission          received evidence that the Property was being used for

  agricultural purposes in keeping with the uses allowed under the State Land Use Agricultural

  District.

              70.   Any proposed findings of fact submitted by the Applicant or Petitioner not already

  ruled upon by the Commission by adoption herein, or rejected by clearly contrary findings of fact

  herein, are hereby denied and rejected.

                                                  CONCLUSIONS OF LAW

              Based on the foregoing Findings of Fact, the Commission hereby enters the following

  Conclusions of Law:

              1.    To the extent that any conclusion of law is more property characterized as a

  finding of fact, the Commission adopts it as such,

              2.    Section 205-6, Hawaii Revised Statutes, states that                         the county        planning

  commission may permit certain unusual and reasonable uses within the agricultural and rural

  districts other than those for which the district is classified.

            3.      Section 15-15-95 of the Hawaii Administrative Rules, lists the following guidelines

  established in determining an "unusual and reasonable use.'

                    (1)    The use shall not be contrary to the objectives sought to be accomplished

                           by chapters 205 and 2054, HRS, and the rules of the Land Use
                           Commission;



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                   (2)      The desired use would not adversely atfect surrounding property;

                   (3)      The use would not unreasonably burden public agencies to provide roads

                            and streets, sewers, water, drainage, and schoolimprovements, and police

                            and fire protection;

                   (4)      Unusual conditions, trends and needs have arise since the district

                            boundaries and rules were established; and,

                   (5)      The land upon which the proposed use is sought is unsuited for the uses

                            permitted within the district.

            4.    After hearing testimony from neighbors that live adjacent to or nearby the Property,

   and after questioning of the Applicant and Consultant, the Commission concluded that the uses

   requested in the Application did not constitute an "unusual and reasonable' use                                   in   the

   Agricultural district.

            5.    The Commission found that the uses proposed in the Application would adversely

   affect the surrounding properties, in conflict with 15-15-95(2), HAR. The Commission received

   substantial negative written testimony from nearby property owners on Haumana Road and

   North Holokai Road. Additionally, during the hearing, nearby property owners submitted

   additional oral, visual, and written testimony regarding concerns about the safety of Haumana

   Road for both potential visitors to the Property and property owners along Haumana Road. The

   Commission found such testimony reliable and compelling.

            6.    The Commission found that granting the uses would increase traffic and burden

   public agencies providing roads and streets, police, and fire protection, in conflict wlth 15-15-

   95(3), HAR, and gave the following reasons for                   a denial of the Application on that basis:
   significant concerns about the nanowness of Haumana Road and vehicle and pedestrian safety

   both of potential visitors to the Property and property owners along Haumana Road and the fact

  that the Property is at the terminus of Haumana Road and therefore traffic to the Property would

  negatively impact residents'safety and use of Haumana Road.


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            7.    The Commission received no evidence that unusual conditions, trends and needs

   had arisen since the State Land Use district boundaries and rules were established.

            8.    The Commission found that agricultural uses on the Property are not precluded by

   the current condition of the Property which conflicts with Section 15-15-95, HAR, in determining

   whether an "unusual and reasonable use' should be allowed under a Special Permit, as the

   land which the proposed use is sought is suitable for the uses allowed in the Agricultural District.

            9.    The Religious Land Use and lnstitutional Persons Act ("RLUIPA'), 42 U.S.C.

   $2000cc(a)(1), requires that a state or local government may not impose or implement a land

   use regulation in a manner that imposes a substantial burden on the religious exercise of a

   person, including a religious assembly or institution unless the government demonstrates that

   the burden is in furtherance of a compelling governmental interest and is the "least restrictive

   means' of furthering that interest. The Commission found that the county has a compelling

   interest in protecting the health, lives, and safety of the public. The Commission further found

  that Haumana Road did not meet the standard requirements regarding width of agricultural or

   rural roads, and additionally that it was one lane in sections and winding, which impaired sight

  distance and accessibility. The Commission further found that there were compelling public

  health and safety issues implicated by the likely significant increase in traffic attributable to the

  uses proposed by the Application, creating conditions that would be foreseeably dangerous or

  potentially deadly to drivers and pedestrians, including children walking on the road to and from

  the bus stop at the top, using the small rural roadway. The Commission found that inclement

  weather would increase the likelihood              of   accidents and human injuries or death. The

  Commission found that these compelling public health and safety issues could not be

  adequately addressed by the implementation of any permit condition or use restriction.

            10.   lf any Conclusion of Law is later deemed to be a Finding of Fact, it shall be                        so

  deemed.


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            11.   The effective date of this Decision and Order is April 8,2014.



                                               pEctstolN ANp oRDER

            Therefore, pursuant to the authority of the Commission as set forth in Section 205-6,

   Hawaii Revised Statutes, Fredrick R. HoniglSpirit of Aloha Temple's request for a State Land

   Use Commission Special Permit at 800 Haumana Road, Haiku, Maui, Hawaii is hereby

   DENIED.

            The Commission's action to deny the Application and effective date of this Decision and

   Order is April 8,2014.

            The parties are advised of their right to appeal this Decision and Order pursuant to

   Section 91-14, Hawaii Revised Statutes, and Section 12-201-32, Rules                              of   Practice and

   Procedure for the Maui Planning Commission.

            Datedthis     28th         dayof october ,2014, Wailuku, Maui, Hawaii.




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                                                                NOT PRESENT'EXC USED ABSENCE

                                                               NOT PRESENT/EXCUSED ABSENCE


                                                               SANDRA DUVAUCHELLE
            Maui Planning Commissioner                         Maui Planning Commissioner




            ABSTAINED/DID NOT VOTE

            ABSTAINED/DID NOTVOTE

            MMWELL'MAX'TSAI
            Maui Planning Commissioner

            ABSTAINED/DID NOT VOTE

            IVAN I-AY
            Maui Planning Commissioner


            NOT IN AGREEMENT




            ,.HEr;^/^2.
            PENNY WAKIDA
            Maui Planning Commissioner




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                                             CERTIFICATE OF SERVICE


    In The Matter of The Application of                               DOCKET NO.
                                                                      suP2 201210032
                   FREDRICK R. HONIG
                SPIRIT OF ALOHA TEMPLE                                FREDRICK R. HONIG
                                                                      SPIRIT OF ALOHA TEMPLE
    To Obtain a State Land Use    Gommission
    Special Use Permit to Operate a Classroom                         Findings of Fact, Conclusions of Law and
    and hold Spirit of Aloha Temple Church                            Decision and Order Denying Docket No.
    Services with Church Related Events such                          SUP2 201210032; Certificate of Service
    as Weddings in the State and County
    Agricultural Zoning Districts on
    Approximately 11 Acres of Land Located at
    800 Haumana Road, Haiku, Maui, Hawaii;
    MauiTax


                                      GERTIFICATE OF SERVICE
            I   hereby certify that a copy of the foregoing was duly served today, in the manner

   indicated below, upon the following parties by depositing the same with the U.S. mail, postage

   prepaid, addressed as follows:



   FREDRICK R. HONIG                                                 By Certified Mail No. 7013 1710 0002 3790
   800 Haumana Road                                                  (Return Receipt Requested)
   Haiku, Hl 96708


            Dated: Wailuku, Maui, Hawaii,               october 30,                        2014




                                                                     WLLIAM SPENCE
                                                                     Director of Planning
                                                                     Department of Planning
                                                                     County of Maui


  (suP2 2012t0032)
  (K.\WP_OOCS\PI NNING\SUP2UO12\0032_SpiritofAlohaTempteUsgaLDocumenB\Decision_&_Ord6r_SpinLAloha_MPC_2E-Ocl-20'l4.doc)




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                                  EXHIBIT "B"




                            EXHIBIT "D"
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                               IN   THE UNITED STATES DTSTRICT COURT

                                       EOR THE DISTR]CT OF HAWAII

           SPIRIT OE ALOHA TEMPLE AND                  C]VIL NO. 14_00535    SOM/RLP
           EREDRICK R. HONIG,
                                                       ORDER GRANTTNG MOTION TO
                         Plalntiffs,                   DISMISS AND/OR FOR PARTIAL
                                                       SUMMARY JUDGMENT
                   vs.
           COUNTY OF MAU] AND MAUI
           PLANNTNG COMM]SSTON,

                         Defendants.

                         ORDER GRA!{TING MOTION TO DISMISS A}IDIOR FOR
                                   PARTIAL St DTITTARY .TUDGMENT

           I.            INTRODUCTION.

                         Plaintiffs      Spirit of Afoha Temple and Fredrick R. Honig
           applied for a State Land Use         Commj-ssion   Special Permit to buil-d   a

           church and hol-d religious events on a parcel of land located in
           the County of Maui. After the application was denied by
           Defendant Maui Planning Commission, Pl-aintiffs           filed their
           Complaint in this court, asserting federal and state claims
           against both the Planning Commission and Defendant County of
           Maui.
                         Before the court is Defendants' Motion to Dismiss
           and/or for Partial          Summary Judgment,   requesting that the Planning
           Commission be dismissed from the action, or aII claims against it
           be dismissed with prejudice.          The motion to dismiss is granted.




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    II.            BACKGROI'ND.

                    Spirit of Aloha is a     501   (c) (3) tax-exempt organization
    that    was    incorporated as a church in 2007 to promote "Integral
    Yoqa.   "     See ECF No. It PageID #s 5, 7.          Honig is a licensed
    minister and teacher of Integral Yoga. See id., PageID #                    6.

                    Spirit of A1oha owns an eleven-acre parcel located in
    Haiku, Maui. See id., PageID # 9. The parcel is                    zoned

    "Agriculture" and is in a Special              Managrement    Area. See id.      The

    property is being used for limited "secular" purposes, including
    a botanical garden, bird sanctuary, and staff housing. See id.
                    In 2070, Plaintiffs     applied for a special use permit to
    use the property as a church. See id.,                PageID #s 10-11.
    Churches are permitted as a special use in an agricultural
    district.       See id.,   PageID # 13.        Plaintiffs    propose to use t.he
    property for religious services, meetings, lectures, and events
    such as weddinqs. See id.,            PageID #s 10-11-. Plaintiffs'
    application was denied by the Planning              Commj-ssion    on various
    grounds. See id., PageID #s 10-11.
                   On November    2L, 20L2, Plaintiffs          filed another
    application for a special permi-t to use the property for the                    same

    religious purposes. See id.,            PageID # 10.        The Maui Planning
    Department j-ssued a report and recommendation that the permit be
    issued. See id., PageID # 22. However, after a public hearingt
    in which several residents in the surrounding area expressed




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    concern about road safety given increased traffic  to and from the
    property, various zoninq violations by Plaintiffs, and the impact
    of increased numbers of visitors on community resources, see id.,
    PageID #s 26-27,    the   PlannJ-ng Commission   voted to deny the
    applicatj-on, see id., PageID # 28. The Planning          Commissj-on set

    forth its findings and conclusj-ons in its Decision and Order of
    October 30, 20L4 ("October 2014 Decision") . See id., PageID #s
    29-30.
                 After its application    was denied,    Plaint.iffs chose not
    to seek review of the October 20L4 Decision in state court              under
    Haw. Rev. Stat. S 91,-1,4.     Instead, Plaintiffs     filed their
    Complaint in this court on November 26, 2014. See           ECF   No.   1.

    The Compl-aint asserts claims for violations         of federal l-aw under
    the Religious Land Use and fnstitutional-j-zed Persons Act of            2000

    and 42 U.S.C. S 1983, and violations        of the Hawai-i constj-tution.
    See j-d., PageID #s 35-44.      In addition, Count X seeks review of
    the Plannj-ng Commission's October 2014 Decision pursuant to             Haw.

    Rev. St.at. S 9l-14.r     See id.,   PageID # 44. Plaintiffs      seek
    monetary damages, injunctj-ve relief,       and attorney's fees from
    both the County and the Planning Commission. See id., PageID                 #s

    44-46.


         I    The numbering of the counts in the Complaint includes
    an error, as the Complaint does not include a Count fII.  ECE No.
    L, PageTD # 36. This order uses the count numbers in the
    Complaint.




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                 Defendants filed the present motion to dismiss the
    Planning Commission because it is not an independent 1ega1 entity
    that can be sued separately from the County.                See ECE No. 33,
    PageID # 146.
    III.      STANDARD.

                 Under Rul-e 12(b) (6) of the Federal Rules of Civil
    Procedure, the court's review is generally limited to the
    contents of the complaint. Sprewell v. Gol-den State Warriors,
    266 F.3d 979, 988 (9th Cir. 200 1); Campanelli v. Bockrath,                 100

    F.3d L476, L479 (9th Cir. 7996\ . If matters outside the
    pleadings are considered, the R u1e      12   (b) (6) motion     is treated       as

    one for summary judgment.        See Keams    v.    Tempe   Tech. Inst., Inc.,
    1-10   E.3d 44, 46 (9th Cir. 1,991); Anderson v. Anselone, 86 F.3d
    932, 934 (9th Cir. 1996). Courts may "consider certain
    materials--documents attached to the complaint, documents
    i-ncorporated by reference in the complaint, or matters of
    judicial    notice--without converting the motion to dismiss into                  a

    motion for summary judgment." United States v. Ritchie, 342 F.3d
    903, 908 (9th Cir. 2003).
                 On   a Rul-e 12(b) (6) motion to dismiss, all allegati-ons
    of material- fact are taken as true      and       construed in the light
    most favorabl-e to the nonmoving party.            Fed'n of African    Am.

    Contractors v. City of Oakland, 96 E.3d L204, 7201 (9th Cir
    \995) .    However, conclusory allegations         of   J-aw, unwarranted




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     deductions of fact, and unreasonable inferences are insufficj-ent
     to defeat a motion to dismiss.       Sprewel-I, 266 E.3d at 9BB; Syntex
     Corp. Sec. Litiq.,    95 E.3d 922, 926 (9th Cir. 1996).
                  Dismissal under Rule   12   (b) (6) may be based on either:
     (1) lack of a cognizable Iega1 theory, or (21 insufficient            facts
     under a cognizable 1ega1 theory.         Balistreri    v. Pacifica Police
     Dept., 901 F.2d 696, 699 (9th Cir. 1988) (citing Robertson v.
     Dean   Wi-tter Revnolds, Inc., 749 E.2d 530, 533-34 (9th Clr.
     1984))   .


                  "[T]o survive a Rule 12(b) (6) motion to dismiss,
     factual allegations must be enough to raj-se a right to relief
    above the speculative level-r oo the assumpti-on that a1I the
    allegations in the complaint are true even if doubtful in fact."
    BeIl AtI. Corp. v. Twomblv, 550 U.S. 544, 555 (2007) (internal
    quotation marks omitted)i accord Ashcroft v. Iqbal, 556 U.S. 662,
     618 (2009) (*[T]he pleading standard RuIe B announces does not
    require 'detailed factual allegationsr' but it demands more than
    an unadorned, the-defendant-unlawfully-harmed-me accusation") .
    "While a complaint attacked by a Rule         12   (b) (6) motion to dismiss
    does not need detailed factual allegations,            a plaintiff's
    obligation to provide the 'grounds' of his 'entitlement to
    relief' requires more than labels and conclusions, and a
    formulaic recitation     of the elements of a cause of action will
    not do."      Twomblv, 550 U.S. at 555. The complaint must "state            a




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    claim to relief      that is plausible on its face."           Id. at 570. "A
    claim has facial plausibility          when    the plaintiff   pleads factual
    content that alIows the court to draw the reasonable inference
    that the defendant is liable for the misconduct aI1eg,ed. "                 Iqbal,
    556 U.S. at 678.
    rv.          ATiIALYSIS.

                 A.    Dismissal of Counts f to IX Against the Planning
                       Commission.

                 Defendants seek dismissal of all claims against the
    Planning Commission, arguing that the Planning Commission is not
    an independent 1ega1 entity apart from the County that is capable
    of being sued. See ECE No. 33, PageID # l-54. The parties appear
    to have agreed that the Planning Commission can be dismissed as                        a

    party as to Counts f through IX. At the hearing on the motion,
    Plaintiffs    stated they would agree to the dismissal of these
    counts if the County agreed to stand by any judgment or
    injunctive order applicable to the Planning Commission.                See       ECF

    No. 47, PageID #s 220-23;        ECE   No. 80, PageID # 521.       The County

    agreed to this proposal.         See ECF No. 80, PageID # 522.         Under

    these circumstances, the court grants Defendants' motion to
    dismlss the Planninq Commission as a Defendant in Counts f to fX.
    Counts I to IX remain pending against the County.
                 B.    Count X.
                 Count X seeks appellate review          of the October 2074
    Decision pursuant to Haw. Rev. Stat. S 91-1,4. See              ECE   No.   1,




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    PageID #s 40-44. Defendants argue that this court Iacks the
    jurisdiction     to entertain such an action.    See ECF No. 52, PagefD
    #s 247, 244-45. This courL concludes that it has supplemental
    jurisdiction     over Count X. However, thls court decli-nes to
    exercise its discretion to retain supplemental jurisdiction           over
    t.he cIaim.
                       1.   The Court Has Supplemental   Jurisdiction over
                            Count X.
                  City of Chicago v. lnternational Colleqe of Surgeons,
    522 U.S. 156 (L9971, addressed whether a federal district           court
    may exercise supplemental jurisdiction      over a c.Iaim seeking
    federal court review of a state administrative agency action.
    Id. at 774. The City of Chicago had removed to federal court             a

    lawsuit that included claims raising federal questions as well-              as
    state-law claims seeking review of a city agency's denial of the
    plalntiff's    request to redevelop two historic buildings.         fd. at
    159-61. The city argued that the applicable ordinance, which
    resembles Haw. Rev. Stat. S 97-14 in providing that judicial
    review of a municj-pa1 agency decisj-on lies with the state courL,
    deprived the federal district     court of jurisdiction    to conduct
    deferent"ial appellate review of the agency action.        fd. at    1,59,

    L66. The federal district      court exercised supplemental
    jurisdiction    over the state-law claims and ruled on them. Id. at
    76L. The Seventh Circuit reversed and remanded the case to state
    court, concludlng that the district      court had been without




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     jurisdiction.       Id.
                The Supreme Court reversed.                Id. at L74. The Court
     explained that a federal district       court has supplemental
     jurisdiction     to review state administrative challenges so long            as

     those claims "are so rel-ated to claims in the action within              such

     original jurisdiction      that they form part of the same case or
     controversy under Article III of the United States Constitution."
     Id. at 165 (quoting 28 v. S . C . S   1"367   )   .


                The Court nonetheless clarified that just because a
     district court may exercise supplemental jurisdiction over a
     cross-system appeal does not mean that it always should. The
     Court noted that a federal district court's decision to assert
     supplemental jurisdiction was a di-scretionary one:
                Of course, to say that the terms of S 1367 (a)
                authorize the district courts to exercise
                supplemental jurlsdiction over state faw
                claims for on-the-record review of
                administrative decisions does not mean that
                the jurisdiction must be exercised in all
                cases. Our decisions have established that
                pendent jurisdicti-on "is a doctrine of
                discretion, not of plaintiff's      r:-qhL,"
                 [United Mine  Workers  of   Am. v. Gibbs,   383
                U.S. 775, 726 (l-966) ] and that district
                courts can decline to exercise jurisdictj-on
                over pendent claims for a number of valid
                reasons , iil,  at 726-2'7 .
     522 U.S. at     3 (citing Carneqie-Mel-Ion Univ. v. Cohill , 484
                     1,72-7

    U.S. 343, 350 (1988) ("As articulated by Gibbs, the doctrine of
    pendent jurisdiction       thus is a doctrine of flexibility,          designed
    to al1ow courts to deal with cases involving pendent claims in




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    the manner that most sensibly accommodates a range of concerns
    and values. ") ) .
                In addition, Citv of Chicaqo noted that principles of
    comity may warrant abstention:
                fn addition to their discretion under
                S 1361(c), di-strict courts may be obligated
                not to decide state law claims (or to stay
                their adjudication) where one of the
                abstention doctrines articulated by this
                Court applies. Those doctrines embody the
                general notion that "federal courts may
                decline Lo exercise their jurisdiction, in
                otherwise exceptional circumstances, where
                denying a federal forum would clearly serve
                an important countervailing j-nterest, for
                example where abstention is warranted by
                considerations of proper constitutional
                adjudication, regard for federal-state
                relations, or wise judicial administration."
                Ouackenbush v. Allstate Ins. Co., 5!7 U.S.
                '106,7L6 (1996) (citations and internal
                quotation marks omitted) .
    522 U.S. at L'14. The Court cautioned that "there may be
    situations in which a district       court should abstain from
    reviewing local administrative determinations even if the
    jurisdictional-      prerequisites are otherwise satj-sfied. "   fd.
                There is no dispute that this court has original
    jurisdiction over Plaintiffs' federal claims pursuant to 28
    U.S.C. S 1331. Accordingly, under Citv of Chicaqo and 28 U.S.C.
    S 7361, this court may exercise supplemental jurisdiction over
    the state administrative cl-aim so long as it and the other claims
    "form part of the same case or controversyr " as evidenced by the
    sharing of a common nucleus of operative facts. 28 U.S.C.




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    S L367; Citv of Chlcaqo, 522 V.S. at 165. The state
    administrative review claim and the federal claims in this action
    share a common nucleus of operative facts,. they all arj-se out of
    Pl-aintiffs' attempts to obtain a special use permit to use its
    property as a church.
                 Defendants do not attack this aspect of the
    jurisdictional    analysis, but maintain that there are other
    problems requiring this court to refraln from exercising
    supplemental jurisdiction     over Count X. Defendants allege that
    Pl-aint.iffs' appeal of the October 2074 Decision was untlmely                   and

    inadequate. They note that Rule 12 of the Hawaii Rules of Civil
    Procedure required Plaintiffs     to satisfy several steps, including
    the filing    of its appeal within thirty          days of the October         2074

    Decision, the serving of a certified             copy of the notice of appeal
    on Defendants, and the designating of the record on appeal.
    Defendants contend that these requirements have not been met.
    See ECE No. 52, PaqeID #s 242-43.
                 ft is clear, however, that at least in this court it is
    the Federal Rules of Civil Procedure that govern Count X, not the
    Hawaii Rul-es of Civil Procedure. See, e.9., Nathan v. Boeinq
    Co., Lt6 F.3d 422t 423 (9th Cir.         1,997   ) (Federal Rules of Civil
    Procedure govern state l-aw claims over which courts have
    supplemental jurisdiction);     Laidlaw Waste Svs., Inc. v.
    Mallinckrodt, Inc. , 925 E.   Supp   .   624   | 634   (E.   D. Mo.   1,9961



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     ("Eederal courts apply the Eederal Rules of Civil Procedure to
    matters of procedure when considering non-federal questions,
    whether i-n a diversity action or as here when a state claj-m is
    heard under supplemental jurisdiction.");      New.Net, Inc. v.
    Lavasoft, 356 E'. Supp. 2d 1090, 1099 (C.D. Cal. 20A4)        (same).

                There j-s no federal equivalent to RuIe 72 of the Hawaii
    Rules of Civil Procedure. Plaintiffs say that it would be absurd
    to require them to perfect their appeal in this court by
    preparing and presenting a designation to the clerk of the state
    circuit court, as required by Rule 72 of the Hawaii Rules of
    Civil- Procedure. See ECF No. 55-1,        # 261,. This court
                                             PageID
    concludes that Plaintiffs' noncompliance with Rule 72 does not
    affect this court's jurisdiction over Count X.
                While this court concludes that it has the power to
    exercise supplemental jurisdiction in this case, that        does not

    mean   this court should exercise that    power.
                     2.   The Court Declines to Exercise Supplemental
                         .furisdiction Over the State Law Claims.
              Unlike federal question or diversity jurisdiction,
    supplemental r or pendent, jurisdiction is not mandatory. The
    power to adjudicate state-law cl-aims "need not be exercised in
    every case in which it is found to exist.  It has consistently
    been recognized that pendent jurisdiction is a doctrine of
    discretion, not of plaintiff's xiglnt." Gibbs, 383 U.S. at 726.
    fn weighing whether to exercise supplemental jurisdiction over a
                                       11




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         state-1aw claim, courts should factor in "considerations of
         judicial   economy, convenience and fairness to litigants
         Needless decisi-ons of state law should be avoided both as        a

         mat.ter of comity and to promote justice between the parties, by
         procuri-ng for them a surer-footed reading of applicable law."
         rd.
                    Under 28 U.S.C. S 1367(c), a court may decline to
         exercise supplemental jurisdicti-on over a state-law claim 1f:
                     (1) the cl-aim rai-ses a novel or complex
                         j-ssue of State Iaw,
                     (2) the claim substantially predominates
                         over the claim or claims over which the
                         district court has original
                         j urisdiction,
                     (3) the district court has dismissed all
                         claims over which it has original
                         jurisdiction, or
                     (4) in exceptional- circumstances, there are
                         other compelling reasons for declining
                         j urisdiction .

         City of Chicaqo not.ed that the "statute thereby reflects the
         understanding that, when decidlnqr whether to exercise
         supplemental jurisdiction,     'a federal court should consider       and
         weigh in each case, and at every stage of the litigation,        the
         values of judicial   economy, convenience, fairness, and comity., "
         522 U.S. at 173 (citation    omitted).
                    "Each of the section 1367 (c) bases is an independent
         reason through which a court may decline supplemental
         jurisdiction."   Wisev's # 1 LLC v. Niryl-lis Pizzeria LLC, 952        F.

         Supp. 2d 1-84, 189 (D.D.C. 2013) .

                                            t2



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                              a.     S   1367   (c) (1) .
                 Section   l-367   (c) (1) asks if the state-Iaw claim presents
    novel and complex issues of state law. Count X does.
                 Plaintiffs    say there is nothing novel about the state-
    laws issues in this case, given the more than a thousand Hawaii
    cases that refer to Haw. Rev. Stat. S 9L-L4. See ECF No. 9t,
    PageID # 823. This argument is inapposite.                  Haw. Rev. Stat.     S

    97-74 merely provides the procedural requirements a party must
    folIow, and the standards of review a state circuit                court must
    apply when it considers an appeal from an administrative agency's
    decision.     Haw. Rev. Stat. S 97-74 says nothing about the
    substantive 1aw in each case, which is what this court must
    analyze in determlning whether there are novef or complex issues
    of state 1aw under S 1367 (c) (1) .
                 The state 1aw impllcated in Count X is clearly complex.
    Although Pl-aintiffs      characterize the October 20L4 Decision           as

    being as "mundane an adminj-strative decision as one finds in
    municipal decision-makingrr" see            ECF    No. 91, PagefD # 820,
    Plaintiffs    seek a speciaf use permit in a special management area
    for a religious use. This is not the typical appeal.
                 In fact, Plaintiffs       acknowledge in their Complaint that
    the Planning Commission could only grant a special use permit if
    all of the followinq criteria          were met:
                 1.   The proposed request meets the intent of
                      the general plan and the objectives             and

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                     policies of the applicable     community
                     plan of the county;
                2.   The proposed request is consistent with
                     the applicable community plan land use
                     map of the county;
                3.   The proposed reguest meets the lntent
                     and purpose of the applicable district;
                     The proposed development will not
                     adversely affect or interfere with
                     public or private schools, parks,
                     playgrounds, water systems, sewage and
                     solid waste disposal, drainage, roadway
                     and transportation systems r or other
                     public reguirements, conveniences and
                     j-mprovemenLs;

                5.   The proposed development wil-l- not
                     adversely impact the social, cultural,
                     economic, environmental, and ecoloqical
                     character and quality of the area;
                6.   That the public shal-l be protected from
                     the deleterious effects of the proposed
                     use i

               1.    That the need for public service demands
                     created by the proposed use shall be
                     fulf i11ed,' and
                     If the use is l-ocated in the state
                     agricultural and rural district, the
                     commission sha]l review whether the use
                     complies with the guidelines established
                     in section 15-15-95 of the rules of the
                     land use commission of the State.
    See ECF No. 7, PageID #s 15-16 (alleging that "Maui County Code
    S 19.510.070(B) states that the standards for a special use
    permit to be used by the planning commission required that          each

    of the following criteria    must be met").    This list    of criteria
    makes it clear that the reviewing court must engage in         a


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           complicated assessment of multiple factors that are not only
           highly factual, but also involve the interplay       among   various
           state, county, and community land use policies.        By itsel-f,
           section 19.510.070(B) raises complex issues of state and loca1
           1aw.

                      However, because Plaintiffs'      property is located in     a

           state agricultural     district,   this court would additionally     have

           to review the Planning Commission's decision in light of the
           guidelines established in sect.ion 15-15-95 of the rules of the
           State of Hawaii's Land Use Commission. See Maui Count.y         Code

           S 19.510.070(B); Haw. Admin. R. S 1"5-15-95. Section 15-15-95(c)
           required the Planning Commission to determine whether Pl-aintiffs'
           proposal was an "unusual and reasonable use" under the following
           guidelines:
                       (1) The use shal1 not be contrary to the
                           objectives sought to be accomplished by
                           chapters 205 and 205A, HRS, and the
                           rules of the commission;
                       (2) The proposed use would not adversely
                           affect surrounding property;
                       (3) The proposed use would not unreasonably
                           burden public agrencies to provide roads
                           and streets, sewers, water draj-nage and
                           school improvements, and police and fire
                           protection;
                       (4) Unusual conditions, trends, and needs
                           have arisen since the district
                           boundaries and rules were established;
                            and
                       (5) The land upon which the proposed use is
                           sought is unsuited for the uses
                           permitted within the distrj-ct.
           Haw. Admin. R. S 15-15-95(c).

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                 The need for this analysis, aparL from further
     complicating this court's task, would also inject j-nto the              case
    what appears to be an unsettled issue of faw. In Eav_e,gunset
    BeaclyCo4l. v. CitV & County of Ho4olulu, t02 Haw. 465, 7B P.3d                  1-



     (2003), the Hawaii Supreme Court instructed that "guidelines" in
    an ordinance or statute "denote individual factors that are not
    mandatory in themselves, but instead provide direction or
    guidance with respect to the ultimate decision[.]"           78 P.3d at
    15. Subsequently, in an unpublished opinion, the Hawaii              Supreme

    Court relied on this proposltion to hold that the Hawaii County
    Planning Commission's omissj-on of a conclusion directly
    addressing the suitable-use guideline in Haw. Admin.          R.

    S 15-15-95 (b) (5) did not invalidate its decision.         See Geiqer v.
    Hawai'i Countv Planninq Comm'n, 109 Haw. 295, 725 P.3d             1060

     (20051 .2




          ' This court is aware of fed.eral, Ninth Circuit, and. Hawaii
    rules that prohibit the citation of unpublished opinions filed
    prior to a certain date as precedent. See Fed. R. App. P. 32.L;
    Ninth Circuit Rul-e 36-3,' Haw. R. App. P. 35(c) (1). This court
    cites to Geiqer, d 2005 unpublished Hawaii Supreme Court casel
    not for its precedential- va1ue, but instead to show that there
    appears to be a lack of precedent in Hawaii's appellate courts
    regarding whether Haw. Admin. R. S 15-15-95 (c) (1) must be
    directly addressed by a planningr commi-ssion in deciding a special
    use permit application. Recognizing that Ninth Circuit Rule 36-1
    and Rule 32.L of the Federal Rules of Appellate Procedure do not
    speak to this citationr ds they are l-imited to the citation of
    unpublished federal cases, this court acknowledges the citation
    restrictlons in RuIe 35 (c) (1) of the Hawaii Rules of Appellate
    Procedure, but concludes that citing Geiqer here does not
    conflict with the apparent purpose of that ru1e.
                                         L6




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                 It is still     unclear to this court, however, whet.her
    section    15-1-5-95 (1)   , unlike section 15-15-95 (b) (5) and the other
    "guidelinesr " must be direct.ly addressed. After all,            section
    15-15-95 (c) (1) is distinct       in that it uses the mandatory
    directive "shall" in stating, "The use shal-l- not be contrary to
    the objectives sought to be accomplished by chapters 205 and
    205A, HRS, and the rules of the commj-ssion." (Emphasis added)
    See Malahoff v. Saito | 171 Haw. 768t 1,97, 140 P.3d 401, 424
    (2006) | as corrected (Sept. 19, 2006) (*It is well-established

    that, where a statute contaj-ns the word 'shalIr'            the provislon
    generally wiIl be construed as mandaLoxy."). V[hile section 15-
    15-95   (1) is an administrative rule rather than an ordinance or
    statute, it appears to articulate            a mandatory directive.
                 The P1anning Commission, in denying the application,
    cited to    some   of the guidelines set forth in Haw. Admin. R. S 15-
    15-95 and concluded that the proposed use was not an "unusual and
    reasonable use."       See ECF No. 76, PageID # 473. But the Planning
    Commission never directly         addressed section 15-15-95 (c) (1) .      See

    id.     If this court adjudicated the appeal, this court might            have

    to decide whether the Planning Commission's omission of               a

    conclusion directly addressing this subsection invalidated the
    decision.     While a state court would similarly         lack clear
    guidance on this issue from the Hawaii Supreme Court, a state
    trial   court would know that its decision could be appeal-ed to             a



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           state appellate court.           By contrast, in the absence of                an

           exist.ing controlling       state precedent, a federal district                     court
           would hear from a state appellate court only if the federal
           district      court certified     a question to the Hawaii Supreme Court.
                           The obstacles    to a special use permit are formidable.
           As the Hawaii Supreme Court noted i-n Curtis v. Board of Appeals,
           Countyof Hawai'i, 90 Haw. 384, 39'7 | 918 P.2d 822, 835 (1999),                             as
           amended (June 15, 19991, t'such a permit is appropriate only in                             an

           'exceptional situation' that does not contravene the general
           purpose of an agricultura1 district. "                    Despite what Plaintiffs
           sdy, Count X brings with it the need to                    engagre   in a   complex
           analysis of statutes, ordinances, and rules as applied to the
           facts of this case, not to mention the policy objectives
           influencing every 1eve1 of state government. Such novel and
           complex state-law issues are better resolved, in the first
           instance, in a state court.
                                      b.    S   1367   (c) (2)   .


                                     (2), this court may decline to exercise
                          Under S 1357(c)
           supplemental jurisdi-ction over a state-law claim that
           "substantially predominates over the claim or claims over which
           the district court has original jurisdiction." 28 U.S.C.
           S   L361   (c) (2) .   *
                            [I] f it appears that the state issues
           substantially predominate, whether in terms of proof, of the
           scope of the issues raised, or of the comprehensiveness of the

                                                       LB




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l.
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         remedy sought, the state claims may be dismissed without
         prejudice and left for resolution to state tribunals." Gibbs,
         383 U.S. at "126. This court concludes that Count X substantially
         predominates over the cfaims over which the district         court   has

         original jurisdiction.
                        Eirst, Count X substantially predominates in terms of
         "the scope of the issues raised."          Indeed, the heart of
         Pl-aintiffs'     Complaint is that the Planning Commission,s denial of
         their special use permit application was unconstitutional:
                        Plaintiffs alIege that the Planning
                        Commission's denial of the Permit-which
                        satisfied alI criteri-a under the relevant
                        zoni-ng regulations-was based on
                        misapplication of state and local laws, dd
                        hoc factors specifically and specially
                        designed to prevent religious exercise on the
                        Property, and unequal treatment as compared
                        to similarly situated entities in Maui
                        County.
                        Plaintiffs further a11ege that the denial of
                        the Permit, which would allow Plaintiffs to
                        operate a place of worship for religious
                        observance, services and education,
                        substantially burdens the Plaintiffs'
                        religious exercise without using the least
                        restrictive means of achieving the compelling
                        governmental interest that the Planning
                        Commission alleges exists to deny the Permit.
                        Plaintiffs   also a1lege that the Planning
                        Commissj-on' s application of unwritten and ad
                        hoc "standards," particularly with respect to
                        traffic standards, to deny the Permit
                        constitutes a prior restraint on the
                        Pl-aintiffs' protected Eirst Amendment
                        activity, does not provi-de reasonable notice
                        to Permit applicants of whether proposed
                        places of worship meet the standards for a

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                     Permit, and is therefore vague and allows for
                     unbridled discretion on the part of the
                     Commission.
         ECF   No. 1, PagefD #s 3-4.
                     Eor instance, Plaintiffs'     federal claim for
         unconstitutional prior restraint, in vj-olation of 42 U.S.C.
         S 1983, alleges:
                     The standards set forth in the County of
                     Maui's zoning regulations governing special
                     permits for places of worship, and the
                     standards applied by the Commissi-on in
                     reviewing and denying Spirit of Aloha Temple
                     and Erederick Honigr's Speci-a1 Use Permit do
                     not provide a person of ordinary intelligence
                     a reasonable opportunity to understand
                     whether such l-and uses are permitted or
                     prohibited and, as such, constitutes an
                     unconstitutional prior restraint on
                     Plaintiff's  protected expression and
                     religious exercise under the First Amendment.
                     Such standards unconstitutionally afford the
                     Commission unbridled discretion in its review
                     of a Special Use Permit application for a
                     place of worship.
         See ECF   No. L, PageID # 37. This court, in facL, is unable to
         discern from Plaintiffs'      Complalnt any theory of liability      with
         regrard to the federal- claims that does not rely on the October
         2A74 Decision.

                    Given these circumstances, tf the court retained
         supplemental jurisdiction      over Count X, the court would likely
         address the merits of the administrative appeal before addressingr
         the merits of the federal claims.        If this court affirmed the
         October 2014 Decision, it is hard to see how Plaintiffs           could


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         succeed on their federal- claims.
                     Second, Count X predominates j_n terms of "the
         comprehensiveness of the remedy sought."        Plaintiffs'   federal
         claims, although also seekinq money damages, primarily seek to
         invalidate the October 2At4 Decision, and to have their special
         permit application approved.
                     Third, even in terms of proof, the administ.ratj-ve
         appeal predominates, both because the federal claims turn on the
         administrative record, and because Count X would 1ike1y require
         the most extensive review of the administrati-ve record.        Haw,

         Rev. Stat. S 91-14 provides:
                    Upon revj-ew of the record the court may
                    affirm the decision of the agency or remand
                    the case with instructions for further
                    proceedinqs,' or it may reverse or modify the
                    decision and order if the substantial rights
                    of the petitioners may have been prejudiced
                    because the administrative findings,
                    conclusions, decisions, or orders are:
                     (1) In violation of constitutional or
                         statutory provisions; or
                     (2) fn excess of the statutory authority or
                         jurisdiction of the agency,' or
                     (3) Made upon unlawful procedure; or
                     (4) Affected by other error of law; or
                     (5) Clearly erroneous in vj-ew of the
                         reliable, probative, and substantial
                         evidence on the whole record; or
                     (6) Arbitrary, or capri-cious r or
                         characterj-zed by abuse of discretion or
                         clearly unwarranted exercise of
                         discretion.
         Haw. Rev. Stat. S 91,-74(q)   .


                    Count X alleges that the Planning Commission's decision

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    was based on clearly erroneous findings.         See ECF No. l, pageTD #
     40. Under Haw. Rev. Stat. S 91--14(5), the reviewing courL must
    determine whether the findings at issue are "c1ear1y erroneous in
    view of the reliable,    probative, and substantial evidence on the
    whole record."    That is, Count X reguires a court to review the
    entire record to determine whether the Planning Commission, s
    findings were clearly erroneous. Although the administrative
    record j-s not presently before the court, the record apparently
    is voluminous, spanning seven years of proceedings, hearings,                and

    other evidence, such as lengthy county and state aqency            comments,
    written testimony by various stakeholders, settlement agreements
    between the county and Spirit     of Aloha, extensive draft and final
    p1ans, and other reports by loca1 departments and the parties
    themselves. See ECE Nos. 57-80,'      ECF   No. 66,   PageTD   # 340.
               Relatedly, the Hawaii Supreme Court has instructed,
    with regard to Haw. Rev. Stat. S 91-14: "'Where the decision
    below is correct it must be affirmed by the appellate court
    though the lower tribunal gave a wrong reason for its action.f"
    Nihi Leya. Inc. v. Dep't Of Budget And Fiscal Services, l-03 Haw.
    L63, L68, B0 P.3d 984, 989 (2003) (quoting Assalud v. Lee,              66

    Haw. 425, 430, 664 P .2d '734, 738 (1983) ) .    To accomplish what
    Plaintiffs request, which is the vacating of the Planning
    Commission' s decision, this court would flrst have to consider
    whether there were other factual or 1egal reasons to affirm the

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    Planning Commission's ruling, which would necessiLate            an

    exhaustive 1egal and factual inquiry.            The court points this out
    not in aid of skirting any duty, but rather as strong evidence
    that Count X predominates over the federal claj-ms.
                             c.     Other factors.
                 Comity presents another reason for this court to
    decline jurisdiction over this cross-system appeal. "Comj-ty
    \reflects a proper respect for state functions, a recognition of
    the fact that the entire country is made up of a Union of
    separate state governments, and a continuance of the belief that
    the National Government will fare best if the States and their
    institutj-ons are left        free to perform their separate functions     i-n

    separate ways."'     Levin v.     Commerce   Energv. Inc., 560 U.S. 4L3,
    1-30   S.Ct. 2323, 2330 (2010) . "Notions of comity and federalism
    demand   that a state court try its own lawsuits, absent compelling
    reasons to the contrary."         Thatcher Enterps. v. Cache Cnty.
    Corp., 902 E.2d L472t 74'78 (10th Cir. 1990) .
                 Comity is especially important when a state claim
    concerns an area of substantial state or local interest such as
    land use planning.    Cf. Mission Oaks Mobile        Home   Park v. Citv of
    Hollistert    989 E.2d 359, 360 (9th Cir. 1993), overruled on other
    srounds by Green v. CitV of Tucson, 255 F.3d 1-086 (9th Cir. 2001)
    (staying proceedings because they implicated important state
    interest in enforcing its own land use regulations).            This court

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    is mindful that retaining Count X would not only deprive the
    parties of the opportunity to litigate      the claim before a state
    circuit   court that is more experienced i-n handling such matters,
    it wou}d also deprive the state appellate courts of the
    opportunity to weigh j-n on the complex lega1 and factual issues
    of state concern, if the decision were appealed. This court          once

    again turns to the guidance provided in Gibbs, 383 U.S. at        726,

    which stated, "Needless decj-sions of state 1aw should be avoided
    both as a matter of comity and to promote justice between the
    partj-es, by procuring for them a surer-footed reading of
    applicable Law."
               Nor does this court find that consi-deratlons of
    fairness or convenj-ence tip the balance in favor of retaining
    jurisdiction.     Considerations of fairness would favor retention
    of Count X if,    for example, Plaintiffs   were unable to pursue
    their administrative appeal in another forum. But this is not
    the case. Under 28 U.S.C. S 1367(d), the period of limitation            is
    tolled while Count X is pending in this court and for thirty         days
    after it is dismissed, unless state 1aw provides for a longer
    time period.     Plaintiffs   therefore appear to be able to assert
    Count X in state court upon dismissal by this court.
               Furthermore, it is not at. all cl-ear that dismissing
    Count X and staying the case will prejudice Plaintiffs.        The

    record does not suggest that a dismissal by this court wiII

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    materially delay resol-ution of Count X. There is no reason for
    this court to think that its own decision-making calendar is
    different   from that of a state court.       In fact, this court      may

    well take longer than a state court to reach a trial- of this            case

    because federal trial   dates in civil      cases are on occasion
    continued to a11ow the court to try criminal cases in accordance
    with 18 U.S.C. S 3161. By contrast, state circuit           courts    have

    divisions reserved exclusively for civil         cases that are not
    susceptible to such delays and thus may be able to provide the
    parties with firmer and earlier civil        trial   dates than this
    court.
                Dismissal of Count X would not materially inconvenience
    the partj-es. Although Plaintiffs        insist that dismissal of Count
    X would result in the hardship of having to litigate          on two
    fronts, this is not the case. As dj-scussed below, the court
    intends to stay the remaininq claj-ms pending the resol,ution           j-n

    state court of the administrative appeal. Count X is           more
    properly addressed in state courts.
                C.   This Court Abstains from Decidi-ng The
                     Constitutional Issues Pending Resolution of Count
                     X in State Court.
                Becausethe court declines to exercise supplemental
    jurisdiction over Count X and dismisses it so that Plaintiffs may
    raise the cl-aim in state court, the court must decide whether it
    should abstain from adjudicating and stay Plaintiffs' other

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    claims pending resolut.ion of the administrative appeal. Although
    the parties have not moved for abstenti-on, federal courts                  may

    raise the issue sua sponte. See, e.q., Bellotti                 v. Baird,    428

    U.S. L32t 143-44 n. 10          (1,976)   . This court has af ready permitted
    the parties to address the possibility                of a stay, meaningr that,
    while raising the j-ssue sua sponte, this court is not deciding it
    sua sponte.
                  Plaintlffs,      citing Lo 28 U.S.C. S 1367(d), submit that
    there is no reason to stay the other claims pending the
    resolution of the state administrative agency appeal because
    Plaintiffs     "woul-d likely     not file       such action in state court
    unless and until they were unsuccessful on their federal claims
    and after an appeal was decided." See ECF No. 91, PageID # 829.
                  Section   1367   (d) provides, "The period of limitations
    for any clai-m asserted under subsection (a), and for any other
    claim in the same action that is voluntarily                dismissed at the
    same   time as or after the dismi-ssal of the claim under subsection
     (a), shal-I be tolled while the claim is pending and for a period
    of 30 days after it is dismissed unless State 1aw provides for                      a

    longer tolling     period."      28 U.S.C. S 1367(d). ff Plaintiffs            do

    not file     in state court until the federal claims are decided,
    their administrative appeal may weII become time-barred.
              Plaintiffs insist that, even if this court dj-smisses
    Count X, the statute of limitations will be tolled for as long                      as


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    the other claims remain pending in federal courL. For this
    proposition, Plaintiffs            cite to the California Court of Appeals,
    statement in Kendrick v. City of Eureka, 98 CaI. Rptr. 2d 153,
    154 (CaI. Ct. App.         2000)   | that "section      1367   (d) continues to    tol-l_
    the state statute of l-imitations during the federal appeal period
    provided as a matter of statutory right, but tol1ing ceases                       once
    the district      court decision is affirmed by the federal appellate
    court. "
                  Plaintiffs     assign broad meaning to Kendrick.            In making
    the above statement, the California court was only noting that
    S   1367   (d) tolls a state statute of limltations              through an appeal
    to a federal court of appeals, but not during the time until the
    Supreme     Court denies a petition for writ of certiorari.                   Id. at
    156-57. Kendrick did not say that a limitations                    period is stayed
    with respect to a dismissed c1aim when a litigant                   chooses to let
    the thirty-day period in S 1367 (d) expire with respect to a claim
    that is arguably no longer "pending"              7-n   federal court.    Kendrick
    does not address the issue of whether a cl-aim can be said to be
    "pending" once it is dismissed if the remainder of the case is
    stayed and no appeal is taken from the partial                   dismissal.
    Plaintiffs     are free to rely on the possibility               that the Ninth
    Circuit wil-I agree with them that Kendrick indeed stands for that
    proposition, but if they conseguently do not file                   an

    admi-nistrative appeal within thirty             days of dismissal, they        may


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    be risking losing the opportunity for judicial           review of the
    October 2074 Decision.
                 This court analyzes the issue of whether to stay the
    remaini-ng claims in light      of Railroad Commission of Texas v.
    Pullman Co., 372 U.S. 496 (1941). A federal court may apply
    Pullman abstention to "postpone the exercise of federal
    jurisdiction    when 'a federal constitutional       i-ssue        might    be

    mooted or presented in a different         posture by a state court
    determination of pertinent state l-aw."' VH Prop. Qorp. v. City
    of Rancho Palos Verdes, 622 F. Supp. 2d 958, 962 (C.D. Cal. 2009)
    (quoting Pearl Inv. Co. v. Qlty and Cnty. of San Francisco, 114
    E. 2d L460, L462 (9th Cir. 1985), and 9-Y len Co. v. City of
    Redlands, 703 F.2d 3'75, 377 (9th Cir. 1983)). Pullman abstention
    is an "equitable doctrine that afl-ows federal courts to refrain
    from deciding sensi-tive federal constitutional          questions   when

    state law issues may moot or narrow the constitutional
    questions."     San Remo Hotel v. City and Cnty. of San Francisco,
    145 F.3d 1095, l-104 (9th Cir. 1998). It is also a discretionary
    doctrine that flows from the court's equity powers. Potrero
    Hills Landfill,    Inc. v. Cntv. of Solano,657 E.3d 876, 888 (9th
    Cir. 20tL) (citing Baqqett v. Bullitt,         377 U.S. 360, 375 (19641,
    and Smelt v. Cnty. of Oranqe, 447 F.3d 673, 618 (9th Cir. 2006)).
                 PuIIman abstention is warranted if three conditions are
    satisfied:     *(1) the federal plaintiff's      complaint requires

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    resolution of a sensitive question of federal constitutional               1aw;
     (2) the constitutional   question could be mooted or narrowed by            a

    definit.ive ruling on the state 1aw issues; and (3) the possibly
    determi-native issue of state law is unc1ear." Potrero HilIs
    Landfil-l , 657 F.3d at 888 (quoting Spoklie v. Montana,       471, F.3d

    1051, 1055 (9th Cir.2005)).
               This court has recently had occasion to abstain
    pursuant to Pul-lman in an unrelated case in which a state
    ag,ency's ruling was at the core of the dispute.         See Bridqe Aina
    Le'a, LLC v. Hawaii Lafrd Use Comm'n, No. CrV. 11-00474        SOM, 20L2
    WL 1109046   (D. Haw. Mar. 30, 20L21, aff'd,      Bridqe Aina Le,a,        LLC

    v. Chock, 590 Fed. Appx. 705 (9th Cir. 20L4) .        The present case
    similarl-y presents both federal constitutional       law claj-ms    and
    state-Iaw clai-ms relating to an administrative decision.            Pullman
    abstenti-on is equally called for here.
                     1.    This Case Involves Sensitive Question of
                           Federal Constitutional Law.
               The Ninth   Circuit has consistently held that "1and use
    planning is a sensitive area of social policy that meets the
    first. requirement for Pullman abstention."        San Remo llote.I, 145
    F.3d at 1105 (quoting E.inclair   O:11    Corp. v. CntfZ- oE Santa
    Barbafa, 96 E.3d 401, 409 (9th Cir.7996),         and citing Sederquist
    v. Citv of Tiburon, 590 F.2d 278, 2BL-82 (9th Cir. 19781, and
    eanqho,!4IA;i Verdes Corp. v. qitrol ],egUna_Eeaeh, 547 F.2d LA92,
    1094-95 (9th Cir. 79761). See also VH Prop., 622 F. Supp. 2d               aL

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    962. This case directly          implicates land use planning,     as

    Plaintiffs     are asking this court to determine whether an action
    taken by the Planning Commission vlolated various federal
    constitutional     rights as well as state 1aw. The flrst          Pullman
    requirement is therefore satisfied.
                       2.    A State Court Ruling May Narrow or A1ter           Some
                             Federal Constitutional Issues.
                 The second Pullman abstention reguirement involves             a

    "state 1aw questj-on that has the potential- of at. least alteringr
    the nature of the federal constitutional          questions."     C-Y Dev.,
    703 E.2d at 378. "In land use cases, the Ninth Circuit has
    frequently found this requirement satisfied where a favorable
    decision on a state 1aw claim would provide plaintiff             with   some

    or all of the relief      he seeks." VH Prop., 622 F. Supp. 2d aL
    963.
                 In VH Property, the plaintiffs       alleged that the City of
    Rancho Palos Verdes had violated their rights under the United
    States and California constitutions and California Iaw by denying
    Iand development applications submitted by VH. Id. at 960.                  The

    court found the second requlrement satisfled:           "it   is possible
    that resol-ution of     VH/   s state constitutional   takings cl-aim in its
    favor will obviate the need to rule on its federal- claims,
    particularly     if VH finds the compensati-on awarded by the state
    court satisfactary."          Id. at 963. The court noted,
    "Alternatively,    the state court may issue a writ of          mandamus

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    directing the City to approve VH's development plans, mootlng
    VH's federal claims to the extent they seek redress for         a

    permanent, rather than temporary, deprivation of property
    rights. "   Id.
                VH    Property relied on two Ninth Circuit cases, Sinclair
    OiI, 96 E.3d at 405, and C-Y Development| '703 F.2d at 378-80,
    both of which addressed challengies to land use decisions.          C-y
    Devel-opment   is particularly   relevant here. As expl_ained in    VH

    PropertV:
                 II]n C-Y Development, plaintiff challenged
                the City of Redlands' denial of its
                applications for building permits, seekj_ng,
                among other things, a writ of mandamus
                requiring the city to j-ssue the permits. C-y
                Developmentt'703 E.2d at 378. The court held
                that the second requirement for Pullman
                abstention was met, observing that a writ of
                mandate directing the city to issue the
                permits would moot some of the federal i-ssues
                in the case. Id. at 380. The fact that
                "following such hypothetical state
                adjudication [plaintiff]  might return to
                federal court to seek damages for the alleged
                temporary deprivation of its property rights"
                did not render Pullman abstention
                inappropriate. Id.
    622 F. Supp. 2d aL 963.
                ff Plaintiffs    prevail in their administrative appeal,
    they will obtain some of the relief      they seek in this case. That
    might moot out, or at least affect,      some   of the constitutional
    cl-aims. In their federal claims in this action, Plaintiffs         seek
    injunctive and monetary relief.       They seek an order invalidating


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    the Planning Commission's decision, as well as an order directing
    the Planning Commission to grant its special use permit. A state
    court's decision in favor of Plaintiffs on Count X would
    presumably ensure that the denial would be voided, or may even
    direct the Planning Commission to approve the permit, mooting out
    at least some of the injunctive relief claims. Furthermore, "The
    fact that \following such hypothetical state adjudication
    plaintiff might return to federal court to seek damages for the
    alleged temporary deprivation of its property rights' Idoes] not
    render Pullman abstention inappropriate."' VH Prop., 622 F.
    Supp. 2d at 963.
               As the Ninth Circuit noted 1n Sinclair OJ-1, 96 E.3d at
    409, a ruling by a state court need not be "absolutely certain to
    obviate the need for considering federal constitutional        issues. "
    ft is enough for purposes of satisfying the second Pullman
    abstention reguirement if "state 1aw issues might \narrow' the
    federal constitutional    questions."    Id.   The second Pullman
    abstention requirement is met here.
                     3.   How   the State-Law Issues llill   Be Resolved   is
                          Uncertain.
               Thethird Pullman factor goes to the uncertainty of
    issues of state or local Iaw. "Relying on the locaI nature of
    land use claims, and the fact that they j-nvolve interpretation of
    various state and 1oca1 land use 1aws, the Ninth Circuit has
    required only a minimal showing of uncertainty to satisfy the
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    third Pullman factor i-n land use cases." VH Prop., 622 F.            Supp.

    2d. at 964 (discussing Sinc]air OiI).          In determining whether
    determinative issues of state or local law are uncertain, the
    Ninth Circuit says that "a local government's enactment of land
    use regulations 'is by nature a question turninq on the peculiar
    facts of each case in light of the many [applicable] local            and

    state-wide land use laws         . ."'     Sinclair Oi1, 96 F.3d at        410

    (quoting Santa Fe Land Improvement Co. v. City of Chula Vista,
    596 E.2d 838, 841 (9th Cir. L979r,).
               In Sinclair Oil, the Ninth Circuit,        addressing whether
    abstention was appropriate in a case asserting taki-ngs claims
    under the United States and California constitutj-ons, found the
    third reguirement satisfied even though the state takings claim
    was not "particularly    extraordinary or unique."       96 F.3d at    410

    (citing Ko]l-sman v. Citv of Los    Anqel-es   | 731 E.2d 830, 826 n.1-B
    (* [A]bstention often wiIl be appropriate when state land use
    regulations are challenged on state and federal grounds.")).
               In San Remo Hotel, the Ninth Circuit similarly        found
    the third requirement met, noting that the plaintiff's         claim
    could be rendered moot under a local law that was being addressed
    in a pending state-court action.         145 F.3d at 1105. That case
    involved an ordinance that imposed conditions on converting            a

    hotel- from one that housed permanent residents to one that served
    transient tourists.     The owners of the San Remo Hotel were


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    required by t.he ordinance to obtaln a permit to convert hotel
    units to nonresidential, or tourist,          use. Id. at 1099. fn
    addition, 1ocaI zoninq laws required conditional              use

    authorization to establish a tourist hotel.             fd.    Because the San
    Remo    Hotel had been zoned for soleIy residential- use before the
    zoning law was enacted (even though it had actually been used as
    both a residential and tourist hotel), the City Planning
    Commission, affirmed by the Board of Permit Appeals, rejected the
    plaintiffs'      argument that operating as a tourist         hotel would be     a

    "prior non-conforming use" and required the ptaintiffs              to obtain
    a conditional use permit to convert the hotel rooms to "tourist
    use."      fd. at 1099-1100. The plaintiffs      ultimately obtained the
    required permit, but it was subject to three conditions.                Id. at
    1100.

                   The plaintiffs   then filed two actions, seeking,
    ultimately,      to unconditionally convert the rooms to tourist use.
    The first      action sought a writ of     mandamus   in state court
    challenging the Board of Permit Appeals' determination that the
    hotel was properly zoned for only residential use. Id.                 The

    second action, fifed in federal court, asserted, among other
    claims, that the ordinance constituted a facial taking without
    just compensation under the United States Constitution. Id.
                  The Ninth Circuit   remanded the case and instructed the
    district      court to abstain with respect to the takings challenge.

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    Characterr-zlng the plaintiffs'      case as a challenge to "the
    applicability     of t.he lordinance] and the need to obtain        a

    conditional use permit, " the Ninth Circuit noted that the              case

    hinged on the designatj-on of the San Remo Hotel as "residenLial,"
    the precise subject of the pendingr staLe          mandamus   actj-on. Id. at
    1106. The third P1rl1qa4 abstention reguirement was met because
    the state     mandamus   action required the state court to interpret
    an ordinance and municipal zoning laws, as weII as to determine
    what effect to give particular       facts.    Id.    The Ninth Circuit
    concluded that those were "uncertain issues of state law."                Id.
                  The special use permit application in this case has not
    yet been challenged in state court.           VH   Prop., 622 F. Supp. 2d at
    964; see also Sinclair Oil, 96 E.3d at 410. While there is                no

    pending companion case in state court for this court to take note
    of, the state cl-aims present issues of unsettled state law.               How

    a state court will decide the issues in Count X is unclear.
    Plaintiffs'     appeal will   turn, at least in part, on how the state
    court interprets state and loca1 laws and administrative rules,
    and what effect the state court gives to the actions taken by the
    Planning Commission. Eor example, the reviewing court will have
    to determine whether the proposal by Plaintiffs           constitutes     an

    "unusual and reasonable use" under Haw. Admin. R. S 15-15-95 and
    whether the application sati-sfi-es every crj-terion under Maui
    County Code S 19.510.070 (B) .      This court does "not claim the

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    ability       to predict whether a state court would decide that the
     IPlanning commission] here abused its discretion" or otherwise
    erred.        Sinclair OiI, 96 F.3d at 470. Whether the Commission
    complied with state and loca1 law presents uncertain issues of
    state     l-aw.

                      This court, concluding that aII three requirements are
    met, abstains under Pul-lman with respect to Plaintiffs,               federal
    claims.       Permitting a Hawaii court to determine the state           and
    loca1 issues underlying the Complaint may potentially                narrow the
    federal- constitutional        issues presented. The principles of
    comity and federalism underlying Pullman therefore support this
    court's decision to abstain. VH prop., G22 F. Supp. 2d aL
    966-67    .

                      Moreover, this court sees no reason that it cannot also
    stay the state claims in Counts I to IX against the County that
    this court is exercising supplemental jurisdlction                over pursuant
    Lo 28 U.S.C. S L367. The state-Iaw claims are similar to the
    federal claims in that both are based on allegations that the
    Planning Commission's decision violated religious and other
    rights.       This court has the discretion to manage this case in             an

    orderly and efficient        manner. Thus, the court stays Plaintiffs'
    state claims in the interest of sensibl-e            management   of this case.
    Appropriate abstention, unlike dismissal or remand, "does not
    constitute abneqation of judicial           duty."    Louisiana Power c Liqht

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           Co. v. Citv of Thibodaux, 360 U.S. 25, 29 (1959).        When

           warranted, abstention may be a productive "postponement of
           decision for its best fruiti-on."       fd.
           v.          coNclusroN.
                       Counts I to IX against the Planning Commission are
           dismissed, and those counts against the County are stayed.         The

           court declines to exercise supplemental jurisdiction over Count X
           and dlsmisses Count X without prejudice to Plaintiffs'       pursui-ng
           of that claim in state court pursuant Lo 28 U.S.C. S 1367(d).
           The court stays the present. case pending the state circuit
           court's determination of the matters raised in Count X. The
           court administratively closes this case and terminates a1I
           pending motions. A11 scheduled maLLers, including the settlement
           conference set for March 1, 20L6, are taken off the cal-endar.
           The case will be reopened upon the parties' submission of written
           statements either attaching a final state-court decj-sion, or
           explaining a change in circumstances that warrants the reopeningr
           of this   case.
                          this case is reopenedr a,ny unadjudicated matter
                       When

           stayed by this order Bay, upon written reguest by a party, be
           reset for such supplemental briefing and/or hearing as may be
           appropriate, without the need to refile papers already in the
           case fi1e.



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                                                  #: 4380
                 Case L:74-cv-00535-SOM-RLP Document
                                                        L280


                               rT IS   SO ORDERED.

                               DATED:   Honolulu, Hawaii, January 27t 20L6.


                                                 /s/ Susan Oki Mollwav
                                                 Susan Oki MoIIway
                                                 United States District      Judge




                   Spirit of Aloha Temple, et al. v. County of Maui, et al., Civ. No. 14    00535
                   SOM/RLP; ORDER GRANTING MOTION TO DISMISS AND/OR FOR PARTIAI, SUMMARY   JUDGMENT




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                                             EXHIBIT "D"
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                                 #: 4381


                         IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                              STATE OF HAWAII

   SPIRIT OF ALOHA TEMPLE AND                               Civil No.
   FREDRICK R. HONIG,
                                                           Agency Docket/Case No. SUP2 2012/0032
                     Applicants-Appellants,
                                                           DESIGNATION OF RECORD ON
          vs.                                              APPEAL

   COUNTY OF MAUI AND MAUI
   PLANNING COMMISSION,

                 Agencies-Appellees




                              DESIGNATION OF RECORD ON APPEAL

          COME NOW Spirit of Aloha Temple and Fredrick R. Honig, by and through their

   undersigned attorneys, pursuant to Hawaii Revised Statues $ 91-14 and Rule 72 of the Hawaii

  Rules   of Civil   Procedure, hereby designates and requests the following be submitted to the

  Circuit Court as the record on appeal: the entire record relating to the matter of the Maui

  Planning Commission Docket No. SUP2 20LZ|AA32. This includes, but is not limited to, all

  papers, notices, pleadings, transcripts      of   proceedings, reports, minutes and executive session

  minutes of the Appellees Maui Planning Commission and the Planning Department and all e-

  mails, letters, maps, drawings and evidence received or considered related to such actions.

                           DATED: Honolulu, Hawai'i, February 2{,           2016




                                                                         S. DURRETT

                                                            SHALINA L. SILVA BELL
                                                            Attorneys for Applicants-Appellants
                                                            SPIRIT OF ALOHA TEMPLE and
                                                            FREDRICK R. HONIG




                                      EXHIBIT "D"
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                                 #: 4382


                       IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                           STATE OF HAWAII

   SPIRIT OF ALOHA TEMPLE AND                          Civil No.
   FREDRICK R. HONIG,
                                                       Agency Docket/Case No. SUP2 201210032
                  Applicants-Appellants,
                                                       ORDER FOR CERTIFICATION AND
          vs.                                          TRANSMISSION OF RECORD

   COUNTY OF MAUI AND MAUI
   PLANNING COMMISSION,

                  Agencies-Appellees




             ORDER FOR CERTIFICATION AND TRANSMISSION OF RECORD

   TO: COUNTY OF MAUI AND MAUI PLANNING COMMISSION

          In accordance with section 91-14(d) Hawai'i Revised Statues, and Rule 72(d) of the

   Hawai'i Rules of Civil Procedure, you are hereby ordered to certify and transmit to this Court,

   within twenty (20) calendar days of the date of this Order, or within such further time   as may be

   allowed by this Court, the entire record as defined by section 9l-9(e), Hawaii Revised Statues,

   and as set forth in the Designation of Record on Appeal. Any request to enlarge time shall be

   submitted to the Court prior to the expiration of the above Z}-day period.




                                                                                              FEB ? 5    2010

                                   EX OFFICIO Cr-BNr OF THE




                                    EXHIBIT "D"
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                                 #: 4383


                       IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                           STATE OF HAWAII

   SPIRIT OF ALOHA TEMPLE AND                           Civil No.
   FREDRICK R, HONIG,
                                                        Agency Docket/Case No. SUP2 201210032
                  Applicants-Appellants,
                                                        CERTIFICATE OF SERVICE
          vs.

   COUNTY OF MAUI AND MAUI
   PLANNING COMMISSION,

                  Agencies-Appellees




                                    CERTIFICATE OF SERVICE

                  The undersigned hereby certifies that a copy of the foregoing document was

   served upon the individuals listed below via first class mail.


                  PATRICK K. WONG
                  Corporation Counsel
                  BRIAN A. BILBERRY
                  THOMAS W. KOLBE
                  Deputies Corporation Counsel
                  200 South High Street
                  Wailuku, Maui, Hawaii 96793
                  Attorneys for Appellees
                  COUNTY OF MAUI and MAUI PLANNING COMMISSION


                          DATED: Honolulu, Hawai'i, February        2{,2AL6



                                                                      S,DURRETT

                                                         SHAUNA L. SILVA BELL
                                                         Attorneys for Applicants-Appellants
                                                         SPIRI OF ALOHA TEMPLE and
                                                         FREDRICK R. HONIG




                                     EXHIBIT "D"
